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                                                              5
                                                                Attorneys for Caleb Tector and Stephanie Larson,
                                                              6 Debtors and Debtors in Possession

                                                              7                           UNITED STATES BANKRUPTCY COURT
                                                              8                            EASTERN DISTRICT OF CALIFORNIA
                                                              9                                   SACRAMENTO DIVISION
                                                             10

                                                             11 In re                                              Case No. 13-20096
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                                                             12                                                    DCN: JLG-16
                                                                  Caleb Tector and Stephanie Larson,
                                                             13                                                    Chapter 11
                                                             14              Debtors and Debtors in Possession.    DEBTORS’ FIRST AMENDED
                                                                                                                   DISCLOSURE STATEMENT
                                                             15                                                    DESCRIBING DEBTORS’ CHAPTER 11
                                                                                                                   PLAN OF REORGANIZATION
                                                             16
                                                                                                                        Disclosure Statement Hearing
                                                             17
                                                                                                                   DATE: May 28, 2014
                                                             18                                                    TIME: 10:00 a.m
                                                                                                                   PLACE: Courtroom 35
                                                             19                                                             U.S. Bankruptcy Court
                                                                                                                            501 I St., Sixth Floor
                                                             20                                                             Sacramento, CA 95814
                                                             21                                                           Plan Confirmation Hearing
                                                             22                                                    DATE: October 29, 2014
                                                                                                                   TIME: 10:00 a.m.
                                                             23                                                    PLACE: Courtroom 35
                                                                                                                            U.S. Bankruptcy Court
                                                             24                                                             501 I St., Sixth Floor
                                                                                                                           Sacramento, CA 95814
                                                             25

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                                                              1                                                     I.

                                                              2                                           INTRODUCTION

                                                              3                  Caleb Tector and Stephanie Larson are the debtors and debtors in possession (the

                                                              4 "Debtors") in the above-captioned chapter 11 bankruptcy case (the "Case"). On January 3, 2013

                                                              5 (the "Petition Date"), the Debtors commenced the Case by filing a voluntary chapter 11 petition

                                                              6 under the United States Bankruptcy Code (the "Bankruptcy Code"), 11 U.S.C. § 101, et seq. The

                                                              7 Debtors continue to operate their business, work at their jobs and manage their affairs as debtors in

                                                              8 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner

                                                              9 has been appointed in the Case.

                                                             10                  Chapter 11 allows the Debtors, the creditors, and others parties in interest to

                                                             11 propose a plan of reorganization. A plan of reorganization may provide for the Debtors to
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                                                             12 reorganize by continuing to operate, to liquidate by selling assets of the estate, or a combination of

                                                             13 both. The Debtors are the party proposing the Debtors’ Chapter 11 Plan of Reorganization (the

                                                             14 “Plan”) sent to you in the same envelope as this document. THE DOCUMENT YOU ARE

                                                             15 READING IS THE DISCLOSURE STATEMENT (the “Disclosure Statement”) FOR THE

                                                             16 PLAN. The Disclosure Statement is provided to help you understand the Plan. All terms which

                                                             17 are not otherwise defined in the Plan shall have the same meaning as such terms are provided in

                                                             18 this Disclosure Statement.
                                                             19                  The Plan is a reorganizing plan. Simply put, the Debtors seek to accomplish

                                                             20 payments under the Plan by using funds from their jobs and rental income from their real

                                                             21 properties.

                                                             22                  The effective date of the Plan (the “Effective Date”) will be the first day of the first

                                                             23 full month which is at least 14 days following entry of the order of the Court confirming the Plan,

                                                             24 assuming there has been no appeal from, or order staying the effectiveness of, the Plan

                                                             25 confirmation order (the "Confirmation Order"). The Debtors, following the Effective Date, shall

                                                             26 be referred to as the "Reorganized Debtors."

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                                                              1          A.     Purpose Of This Document

                                                              2                 This Disclosure Statement summarizes what is in the Plan, and tells you certain

                                                              3 information relating to the Plan and the process the Court follows in determining whether or not to

                                                              4 confirm the Plan.

                                                              5                 READ THIS DISCLOSURE STATEMENT CAREFULLY IF YOU WANT

                                                              6 TO KNOW ABOUT:

                                                              7                 (1)     WHO CAN VOTE OR OBJECT;

                                                              8                 (2)     WHAT THE TREATMENT OF YOUR CLAIM IS (i.e., what your

                                                              9 claim will receive if the Plan is confirmed), AND HOW THIS TREATMENT COMPARES

                                                             10 TO WHAT YOUR CLAIM WOULD RECEIVE IN LIQUIDATION;

                                                             11                 (3)     THE HISTORY OF THE DEBTORS AND SIGNIFICANT EVENTS
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                                                             12 DURING THE BANKRUPTCY;

                                                             13                 (4)     WHAT THINGS THE COURT WILL LOOK AT TO DECIDE

                                                             14 WHETHER OR NOT TO CONFIRM THE PLAN;

                                                             15                 (5)     WHAT THE EFFECT OF CONFIRMATION IS; AND

                                                             16                 (6)     WHETHER THE PLAN IS FEASIBLE.

                                                             17                 This Disclosure Statement cannot tell you everything about your rights. You

                                                             18 should consider consulting your own attorney to obtain more specific advice on how the Plan will
                                                             19 affect you and what the best course of action for you is.

                                                             20                 Be sure to read the Plan as well as this Disclosure Statement. If there are any

                                                             21 inconsistencies between the Plan and this Disclosure Statement, the Plan provisions will govern.

                                                             22                 The Bankruptcy Code requires a Disclosure Statement to contain “adequate

                                                             23 information” concerning the Plan. The Bankruptcy Court has not yet approved this document as

                                                             24 an adequate Disclosure Statement, containing enough information to enable parties affected by the

                                                             25 Plan to make an informed judgment about the Plan.

                                                             26          B.     Deadlines For Voting And Objecting; Date Of Plan Confirmation Hearing

                                                             27                 THE COURT HAS NOT YET CONFIRMED THE PLAN DESCRIBED IN

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                                                              1 THIS DISCLOSURE STATEMENT. IN OTHER WORDS, THE TERMS OF THE PLAN

                                                              2 ARE NOT YET BINDING ON ANYONE. HOWEVER, IF THE COURT LATER

                                                              3 CONFIRMS THE PLAN, THEN THE PLAN WILL BE BINDING ON THE DEBTORS

                                                              4 AND ON ALL CREDITORS AND INTEREST HOLDERS IN THIS CASE.

                                                              5                 1.      Time And Place Of The Confirmation Hearing

                                                              6                 The hearing where the Court will determine whether or not to confirm the Plan will

                                                              7 take place on October 29, 2014 at 10:00 a.m., in Courtroom 35 of the United States Bankruptcy

                                                              8 Court, located at 501 I Street, Sacramento, CA 95814.

                                                              9                 2.      Deadline For Voting For Or Against The Plan

                                                             10                 If you are entitled to vote, it is in your best interest to timely vote on the enclosed

                                                             11 ballot and return the ballot to Michael J. Jaurigue, Jaurigue Law Group, 114 N. Brand Blvd., Suite
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                                                             12 200, Glendale, California 91203. Your ballot must be received by 5:00 p.m., Pacific Time, on

                                                             13 September 30, 2014 or it will not be counted.

                                                             14                 3.      Deadline For Objecting To The Confirmation Of The Plan

                                                             15                 Objections to the confirmation of the Plan must be filed with the Court on

                                                             16 September 30, 2014 and served by same day service upon Michael J. Jaurigue, Jaurigue Law

                                                             17 Group, 114 N. Brand Blvd., Suite 200, Glendale, California 91203, fax: (888) 879-1697; email:

                                                             18 michael@jlglawyers.com.
                                                             19                 4.      Identity Of Person To Contact For More Information Regarding The

                                                             20                         Plan

                                                             21                 Any interested party desiring further information about the Plan should contact

                                                             22 Michael J. Jaurigue, Jaurigue Law Group, 114 N. Brand Blvd., Suite 200, Glendale, California

                                                             23 91203, telephone: (818) 432-3220, email: michael@jlglawyers.com.

                                                             24          C.     Disclaimer

                                                             25                 The financial data relied upon in formulating the Plan is based on the Debtors’

                                                             26 books and records which, unless otherwise indicated, are unaudited; appraisals of the real property

                                                             27 owned by the Debtors; and financial projections prepared by the Debtors. The information

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                                                              1 contained in this Disclosure Statement is provided by the Debtors. The Debtors represent that

                                                              2 everything stated in this Disclosure Statement is true and correct to the Debtors’ best knowledge.

                                                              3 The Bankruptcy Court has not yet determined whether or not the Plan is confirmable and makes

                                                              4 no recommendation as to whether or not you should support or oppose the Plan.

                                                              5                                                  II.

                                                              6                                          BACKGROUND

                                                              7                 What follows is a brief summary of the dates and circumstances that led the

                                                              8 Debtors to file their bankruptcy.

                                                              9          A.     The Debtors' Business

                                                             10                 Debtor Caleb Tector is an independent Computer Networking Consultant, doing

                                                             11 business as Mobile Techie (“Mobile Techie”) and Debtor Stephanie Larson is a Middle School
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                                                             12 Teacher. Together the Debtors are also the owners of a California Corporation, which does

                                                             13 business in five locations in California and Colorado, known as Sun Snow Lodging, Inc.

                                                             14 (“SunSnow”). SunSnow offers nightly vacation rentals to clientele looking for temporary skiing

                                                             15 accommodations during the Winter or hiking and sightseeing accommodations during the

                                                             16 Summer. SunSnow offers the following real properties as nightly vacation rentals: (i) 44 Tyrol

                                                             17 Lane, Unit 13, Mammoth Lakes, CA 93546; (ii) 203 County Road 838, Unit 15, Fraser, CO

                                                             18 80442; (iii) 201 Juniper Springs Dr., Unit 215, Mammoth Lakes, CA 93546; (iv) 44 Tyrol Lane,
                                                             19 Unit 14, Mammoth Lakes, CA 93546. Any profits generated by SunSnow are paid over to the

                                                             20 Debtors. On the Petition Date (January 3, 2013), the Debtors owned the following seven (7)

                                                             21 parcels of real estate:

                                                             22                 1.        Sunni’s Way Property

                                                             23                 The real property located at 88 Sunni’s Way, Sunny Slopes, CA 93546-9555 (the

                                                             24 "Sunni’s Way Property") consists of a single residential lot with a single-family, detached house

                                                             25 upon it. Ocwen Loan Servicing, LLC, its Assigns and/or Successors in Interest (“Ocwen”), asserts

                                                             26 a first priority security interest in the Sunni’s Way Property in the amount of approximately

                                                             27 $407,985.02. Citibank, NA (“Citibank”) asserts a second priority security interest in the Sunni’s

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                                                              1 Way Property in the amount of approximately $101,494.00. The Debtors purchased this property

                                                              2 in April 2005.

                                                              3                  The Sunni’s Way Property is the Debtors' primary residence.

                                                              4                  2.     Tyrol 213 Property

                                                              5                  The property located at 44 Tyrol Lane, Unit 13, Mammoth Lakes, CA 93546 (the

                                                              6 "Tyrol 213 Property") consists of an 875 square foot condominium unit which is currently rented

                                                              7 on a nightly basis as a vacation rental. Deutsche Bank National Trust Company, solely as Trustee

                                                              8 for New Century Home Equity Loan Trust Series 2004-A Asset Backed Pass-Through

                                                              9 Certificates, Series 2004-A (“Deutsche”) asserts a first priority security interest in the Tyrol 213

                                                             10 Property in the amount of approximately $248,210.44. JPMorgan Chase Bank, NA, successor in

                                                             11 interest from the Federal Deposit Insurance Corporation, as receiver for Washington Mutual Bank
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                                                             12 f/k/a/ Washington Mutual Bank, F.A., (“Chase”) asserts a second priority security interest in the

                                                             13 Tyrol 213 Property in the amount of approximately $137,097.00. Debtor Stephanie Larson

                                                             14 purchased the Tyrol 213 property in 1991.

                                                             15                  3.     Maple Property

                                                             16                  The real property located at 268 Maple Rd., Thousand Oaks, CA 91320-4720 (the

                                                             17 "Maple Property") consists of a single residential lot with a single-family, detached house upon it.

                                                             18 The Debtors currently rent the Maple Property out to long term tenants. Bank of America
                                                             19 (“BofA”) asserts a first priority security interest in the Maple Property in the approximate amount

                                                             20 of $429,457.48 and a second priority security interest in the Maple Property in the approximate

                                                             21 amount of $157,231.00. Debtor Caleb Tector purchased the Maple Property in February 2003.

                                                             22                  4.     County Road Property

                                                             23                  The real property located at 203 County Road 838, Unit 15, Fraser, CO 80442 (the

                                                             24 "County Road Property"), consists of an 802 square foot condominium unit which is currently

                                                             25 rented on a nightly basis as a vacation rental. Green Tree Servicing, LLC (“Green Tree”) asserts a

                                                             26 first priority security interest in the County Road Property in the amount of approximately

                                                             27 $87,384.43. Eugene and Jaqueline Larson assert a second priority security interest in the County

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                                                              1 Road Property in the approximate amount of $105,645.00. Debtors purchased this property in

                                                              2 June 2004.

                                                              3                  5.      Juniper Property

                                                              4                  The real property located at 201 Juniper Springs Dr., Unit 215, Mammoth Lakes,

                                                              5 CA 93546 (the "Juniper Property") consists of a 529 square foot condominium unit which is

                                                              6 currently rented on a nightly basis as a vacation rental. U.S. Bank National Association, as

                                                              7 Trustee, Successor in Interest to Bank of America, National Association as Trustee as successor by

                                                              8 merger to LaSalle Bank National Association, as Trustee on behalf of the holders of WaMu

                                                              9 Mortgage Pass-Through Certificates, Series 2005-AR15, its assignees and/or successors, by and

                                                             10 through its servicing agent Select Portfolio Servicing, Inc. (“U.S. Bank”) asserts a first priority

                                                             11 security interest in the Juniper Property. The amount of the first priority security interest is
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                                                             12 approximately $426,846.66. Chase asserts a second priority security interest in the Juniper

                                                             13 Property. The amount of the second priority security interest is approximately $43,519.00.

                                                             14 Debtors purchase this property in September of 2005.

                                                             15                  6.      Ironhorse Property

                                                             16                  The property located at 310 Ironhorse, Winter Park, CO 80482 (the "Ironhorse

                                                             17 Property") consists of a 774 square foot condominium unit which has been abandoned by the

                                                             18 Debtors. The Bank of New York Mellon f/k/a The Bank of New York as Successor to JP Morgan
                                                             19 Chase Bank, N.A., as Trustee for the Holders of Sami II 2006-AR6, MTG Pass-Through Certs,

                                                             20 Series 2006-AR6 (“Mellon”), asserts a first priority security interest in the Ironhorse Property in

                                                             21 the amount of approximately $296,113.75. Debtors purchased the Ironhorse Property in May

                                                             22 2006. Ironhorse Community Association, Inc. (“Ironhorse”) asserts a second priority security

                                                             23 interest in the Ironhorse Property in the amount of approximately $87,447.50.

                                                             24                  7.      Tyrol 214 Property

                                                             25                  The property located at 44 Tyrol Lane, Unit 14, Mammoth Lakes, CA 93546 (the

                                                             26 "Tyrol 214 Property") consists of an 1,100 square foot condominium unit which is currently rented

                                                             27 on a nightly basis as a vacation rental. Chase, asserts a first priority security interest in the Tyrol

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                                                              1 214 Property in the amount of approximately $387,325.02. Debtors purchased the Tyrol 214

                                                              2 property in November of 2006.

                                                              3          B.     Principals and Affiliates of Debtors' Business

                                                              4                 Debtors’ income consists of the revenue generated by Debtor Caleb Tector’s

                                                              5 operation of Mobile Techie and the wages from Debtor Stephanie Larson’s position as a Middle

                                                              6 School Teacher. The Debtors also generate revenue through the operation and management of

                                                              7 SunSnow which is owned and operated solely by the Debtors.

                                                              8          C.     Management of the Debtors Before and After Bankruptcy

                                                              9                 No persons other than the Debtors have been involved in the management of the

                                                             10 Debtors' business operations or financial affairs before the Petition Date and no persons other than

                                                             11 the Debtors will be involved in the management of the Debtors’ business operation or financial
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                                                             12 affairs following the Effective Date.

                                                             13          D.     Events that led up to, and causes, of the filing of this case.

                                                             14                 A number of factors led to the Debtors' current bankruptcy filing. The Debtors

                                                             15 filed a prior chapter 11 bankruptcy, case number 10-38738, on July 16, 2010 (the “Prior Case”).

                                                             16 The events leading to the filing of the Prior Case are as follows: beginning in 2004, before the

                                                             17 collapse of the real estate market and economy, the Debtors sought to enter the nightly vacation

                                                             18 rental business by purchasing the County Road Property. At that time Debtors lived in the Tyrol
                                                             19 213 Property and had successfully rented it out as a nightly vacation rental whenever they chose to

                                                             20 go on vacation themselves. To that end the Debtors took out a second loan on the Tyrol 213

                                                             21 Property and borrowed money from Debtor Stephanie Larson’s father and mother in order to put

                                                             22 down payments on both the Colrado Property in June of 2004, and the Sunni’s Way Property in

                                                             23 April of 2005. Purchasing the Sunni’s Way Property allowed the Debtors’ to move out of the

                                                             24 Tyrol 213 Property, transitioning the Tyrol 213 Property into a full time vacation rental unit.

                                                             25 Later in approximately September 2005, Debtors took out a second loan on the Sunni’s Way

                                                             26 Property in order to help finance the purchase of the Juniper Property, as well as investing in an

                                                             27 uncompleted rental condominium project (the “Westin Property”). In approximately May 2006,

                                                             28

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                                                              1 Debtors took out a second loan on the Juniper Property in order to finance the purchase of the

                                                              2 Ironhorse Property. In November 2006, just before the collapse of the real estate market, Debtors

                                                              3 made their final real estate investment by taking a second lien out on the Maple Property and

                                                              4 investing in the Tyrol 214 Property.

                                                              5                  The subsequent collapse of the real estate market and downturn in the economy had

                                                              6 a double impact on the Debtors. With the real estate market collapse the Debtors were left with

                                                              7 properties which were now over encumbered well above their fair market value. With the

                                                              8 downturn in the economy SunSnow, which relied on vacation rental revenue as the source of its

                                                              9 profits, saw a precipitous drop in its business as potential clientele chose to cut vacation spending

                                                             10 in light of the struggling economy. Adding to the Debtors financial problems, the Debtors were

                                                             11 forced to abandon their investment in the Westin Property as, before completion of the
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                                                             12 condominium, it was already substantially “underwater.” Debtors lost approximately $55,000 by

                                                             13 abandoning the Westin Property project. Debtors struggled with the loss of the Westin Property

                                                             14 and SunSnow’s drop in business, cutting expenses where possible and managing other rental units

                                                             15 for third parties to generate more revenue. Furthermore the Debtors attempted to modify several

                                                             16 loans on their real properties holdings in an effort to keep pace with their under-secured

                                                             17 mortgages. Debtors loan modification attempts were unsuccessful with the exception of a

                                                             18 modification on Ocwen’s first priority security interest in the Sunni’s Way Property.
                                                             19                  Ultimately the Prior Case was unsuccessful in achieving a confirmed Chapter 11

                                                             20 Plan. The economy had not sufficiently rebounded to allow Debtors investment properties to

                                                             21 support themselves and the Debtors were unable to reach agreements with all of their secured

                                                             22 lenders in a timely manner. As a result, the Prior Case was converted to a Chapter 7 bankruptcy

                                                             23 and the Debtors received a discharge. The instant case was filed on January 3, 2013 in an effort to

                                                             24 allow the Debtors to restructure their secured debt for the benefit of their estate and first creditors.

                                                             25          E.      Bankruptcy Proceedings

                                                             26                  The following is a list of significant events which have occurred during this case:

                                                             27                  1.      Employment of Bankruptcy Counsel

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                                                              1                  The Debtors sought Court authority to employ the Jaurigue Law Group ("JLG") as

                                                              2 their bankruptcy counsel. The Debtor's application to employ JLG was approved by the Court on

                                                              3 March 18, 2013.

                                                              4                  2.      Administrative Matters

                                                              5                  The Debtors were required to address the various administrative matters attendant

                                                              6 to the commencement of their bankruptcy case. These matters included the preparation of

                                                              7 Schedules of Assets and Liabilities and a Statement of Financial Affairs, and the preparation of the

                                                              8 materials required by the Office of the United States Trustee ("OUST") including, without

                                                              9 limitation, the 7-day package. The Debtors have complied with the foregoing obligations. The

                                                             10 following is a list of significant events and orders in the current case.

                                                             11                          a.     The DIPs filed their voluntary petition for bankruptcy on January 3,
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                                                             12                                 2013;

                                                             13                          b.     A Preliminary Chapter 11 Status Conference was held on February

                                                             14                                 13, 2013.

                                                             15                          c.     On April 24, 2013, the Debtors filed a motion to value the Sunni’s

                                                             16                                 Way Property. On July 16, 2013, the Court entered an order

                                                             17                                 granting the motion.

                                                             18                          d.     On April 24, 2013, the Debtors filed a motion to value the Tyrol 214
                                                             19                                 Property. On August 16, 2013, the Court entered an order

                                                             20                                 determining the value of the Tyrol 214 Property to be $245,250.00.

                                                             21                          e.     On April 24, 2013, the Debtors filed a motion to value the Juniper

                                                             22                                 Springs Property. On August 2, 2013, the Court entered an order

                                                             23                                 denying the motion without prejudice.

                                                             24                          f.     On April 24, 2013, the Debtors filed a motion to value the Tyrol 213

                                                             25                                 Property. On July 16, 2013, the Court entered an order granting the

                                                             26                                 motion.

                                                             27                          g.     On May 10, 2013, the Debtors filed a motion to value the Maple

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                                                              1                                 Property. On July 16, 2013, the Court entered an order granting the

                                                              2                                 motion.

                                                              3                         h.      On May 10, 2013, the Debtors filed a motion to value the County

                                                              4                                 Road Property. On June 22, 2013, the Court entered an order

                                                              5                                 granting the motion.

                                                              6                         i.      On October 17, 2013, the Debtors filed an amended motion to value

                                                              7                                 the Juniper Property. On December 17, 2013, Debtors and U.S.

                                                              8                                 Bank entered into a stipulation resolving the motion. On January

                                                              9                                 30, 2013, the Court entered an order approving the stipulation.

                                                             10          F.     Actual and Projected Recovery of Preferential or Fraudulent Transfers

                                                             11                 At this time, the Debtors are not aware of avoidance claims and causes of action
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                                                             12 that can be pursued for the benefit of the estate. Notwithstanding the foregoing, the Debtors

                                                             13 reserve any and all of their rights to assert and pursue any claims and causes of action pursuant to

                                                             14 11 U.S.C. § 544 et seq. following confirmation of the Plan.

                                                             15          G.     Procedures Implemented to Resolve Financial Problems

                                                             16                 As noted above, DIPs filed a prior bankruptcy in 2010. Although there efforts to

                                                             17 confirm a Chapter 11 Plan were ultimately unsuccessful, the prior case did allow them to

                                                             18 discharge all of their debt allowing the DIPs to focus solely on efforts to grow and maintain
                                                             19 SunSnow. To that end, Debtor Caleb Tector (“Caleb”) has focused his attention on the finances of

                                                             20 the company and has implemented a new online marketing effort which has shown positive results

                                                             21 in growing SunSnow’s business. Caleb has devoted more time towards advertising through the

                                                             22 SunSnow website and other third party websites, to the point where SunSnow is receiving more

                                                             23 unsolicited requests for rental information than ever before. Furthermore, Debtors have

                                                             24 introduced a remote locking and unlocking system which facilitates the ability of SunSnow to

                                                             25 accommodate last minute rentals in their remote locations, without the inconvenience of delivering

                                                             26 physical keys. The remote locking system allows Debtors to effectively manage their properties

                                                             27 from anywhere and has increased their rentals by accommodating late and last minute rentals that

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                                                              1 they would previously have been forced to turn away due to logistics.

                                                              2                  As stated earlier, the Debtors continue to market SunSnow’s services for managing

                                                              3 third party rentals as well. In addition, Debtors were able to cut costs by cleaning their own

                                                              4 properties whenever possible, rather than paying a third party cleaning service. The end result of

                                                              5 these changes have been increased revenue generated by aggressive marketing and increased

                                                              6 ability to accommodate last minute bookings, while lowering costs through Debtors ability to take

                                                              7 on more work themselves rather than paying third parties. Based on the foregoing, and the cash

                                                              8 flow projections prepared by the Debtors, attached hereto as Exhibit "A", the Debtors believe

                                                              9 they have a confirmable Plan.

                                                             10          H.      Summary of Assets and Distributions Under Plan

                                                             11                  The Debtors will modify payments to secured creditors as follows:
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                                                             12                  1.     Sunni’s Way Property

                                                             13                  In connection with the Debtors' Schedule of Assets and Liabilities, the Debtors

                                                             14 valued the Sunni’s Way Property at approximately $375,000.00. On July 16, 2013, the Court

                                                             15 entered an order valuing the Sunni’s Way Property at $350,000.00.

                                                             16                  Ocwen asserts a first priority security interest in the Sunni’s Way Property in the

                                                             17 amount of approximately $407,985.02. In approximately February of 2011, the Debtors modified

                                                             18 their loan with Ocwen. Pursuant to that modification are to pay Ocwen $2,032.00 per month for
                                                             19 the first 60 months, $2,230.62 for the next 12 months, $2,437.84 for the following 12 months, and

                                                             20 $2,624.73 for the remaining 337 months of the mortgage (which includes principal, interest, tax,

                                                             21 and insurance) on account of its first priority security interest. The Plan does not propose to alter

                                                             22 this arrangement.

                                                             23                  Citibank’s second priority lien on the Sunni’s Way Property, which is asserted in

                                                             24 the amount of $101,494.00, is wholly unsecured.

                                                             25                  2.     Tyrol 213 Property

                                                             26                  In connection with the Debtors' Schedule of Assets and Liabilities, the Debtors

                                                             27 valued the Tyrol 213 Property at approximately $175,000.00. On July 16, 2013, the Court entered

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                                                              1 an order valuing the Tyrol 213 Property at $145,000.00.

                                                              2                 Based on the fact that Deutsche asserts a first priority security interest in the Tyrol

                                                              3 213 Property in the amount of $248,210.44, pursuant to 11 U.S.C. § 506(a), the secured claim is

                                                              4 reduced to $145,000.00 (the value of collateral), with the balance of the claim classified as an

                                                              5 unsecured deficiency claim in the amount of $103,210.44. Chase asserts a second priority security

                                                              6 interest in the Tyrol 213 Property in the amount of $137,097.00, which is wholly unsecured.

                                                              7                 The Debtors and Deutsche entered into a claim treatment stipulation, which was

                                                              8 filed with the Court on June 18, 2014, as Document No. 247 (the “Tyrol 213 Stipulation”). The

                                                              9 Debtors propose payment to Deutsche over 360 months at an interest rate of 5.00% for a monthly

                                                             10 payment of $778.39, in accordance with the terms of the Tyrol 213 Stipulation.

                                                             11                 3.      Maple Property
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                                                             12                 In connection with the Debtors' Schedule of Assets and Liabilities, the Debtors

                                                             13 valued the Maple Property at approximately $325,000.00. On July 16, 2013, the Court entered an

                                                             14 order valuing the Maple Property at $375,000.00.

                                                             15                   BofA asserts a first priority security interest in the Maple Property in the amount

                                                             16 of $429,457.48, pursuant to 11 U.S.C. § 506(a), the secured claim is reduced to $375,000.00 (the

                                                             17 value of collateral), with the balance of the claim classified as an unsecured deficiency claim in

                                                             18 the amount of $54,457.48. Green Tree’s second priority lien of in the amount of $157,547.69 is
                                                             19 wholly unsecured.

                                                             20                 The Debtors and BofA entered into a claim treatment stipulation, which was filed

                                                             21 with the Court on August 5, 2014, as Document No. 270 (the “Maple Stipulation”). The Debtors

                                                             22 propose payment to BofA over 30 months at an interest rate of 5.25% for a monthly payment of

                                                             23 $2,070.76, in accordance with the terms of the Maple Stipulation.

                                                             24                 4.      County Road Property

                                                             25                 In connection with the Debtors' Schedule of Assets and Liabilities, the Debtors

                                                             26 valued the County Road Property at approximately $140,000.00. On July 16, 2013, the Court

                                                             27 entered an order valuing the County Road Property at $128,000.00.

                                                             28

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                                                              1                 Green Tree asserts a wholly secured first priority claim of $87,384.43. Eugene and

                                                              2 Jaqueline Larson assert a second priority security interest in the County Road Property in the

                                                              3 amount of $100,000.00, pursuant to 11 U.S.C. § 506(a), the secured claim is reduced to

                                                              4 $40,615.57 (the value of the collateral at $128,000.00 less the $87,384.43 first priority secured

                                                              5 claim of Green Tree), with the balance of the claim classified as an unsecured deficiency claim in

                                                              6 the amount of $59,384.43.

                                                              7                 The Debtors propose payment to Green Tree over a thirty year period at an interest

                                                              8 rate of 4.25% for a monthly payment of $429.88 commencing on the Effective Date of the Plan.

                                                              9 The Debtors proposes a balloon payment to Eugene and Jacqueline Larson on July 1, 2014 of any

                                                             10 outstanding balance on Eugene and Jacqueline Larson’s claim with interest accruing at 4.25%

                                                             11 until such date.
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                                                             12                 5.      Juniper Property

                                                             13                 In connection with the Debtors' Schedule of Assets and Liabilities, the Debtors

                                                             14 valued the Juniper Property at approximately $200,000.00. On December 17, 2013, the Debtors

                                                             15 and U.S. Bank entered into a stipulation valuing the Juniper Property at $260,000.00. On January

                                                             16 30, 2014, the Court entered an order approving the stipulation.

                                                             17                 Based on the terms of the stipulation U.S. Bank shall have a first priority security

                                                             18 interest in the Juniper Property in the amount of $260,000.00. Consequently, the remaining
                                                             19 balance of U.S. Bank’s claim shall be classified as an unsecured deficiency claim in the amount of

                                                             20 $166,846.66. Chase’s second priority lien in the amount of $43,519.00 is wholly unsecured.

                                                             21                 The Debtors and U.S. Bank entered into a subsequent claim treatment stipulation,

                                                             22 which was filed with the Court on June 20, 2014, as Document No. 256 (the “Juniper

                                                             23 Stipulation”). The Debtors propose payment to U.S. Bank over 480 months at an interest rate of

                                                             24 5.25% for a monthly payment of $1,294.06, in accordance with the terms of the Tyrol 213

                                                             25 Stipulation.

                                                             26                 6.      Ironhorse Property

                                                             27                 Debtors’ intend to surrender the Ironhorse Property. Upon Debtors’ surrender of

                                                             28

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                                                              1 the Ironhorse Property, Mellon and Ironhorse shall be free to pursue their State law rights in the

                                                              2 Ironhorse Property on, or after, the Effective Date of the Plan without further order of this Court.

                                                              3                 7.      Tyrol 214 Property

                                                              4                 In connection with the Debtors' Schedule of Assets and Liabilities, the Debtors

                                                              5 valued the Tyrol 214 Property at approximately $200,000.00. On August 16, 2013, the Court

                                                              6 entered an order valuing the Tyrol 214 Property at $245,250.00.

                                                              7                 Chase asserts a first priority security interest in the Tyrol 214 Property in the

                                                              8 amount of $387,325.02. Debtors and Chase have entered into a stipulation attached hereto as

                                                              9 Exhibit “B.” The treatment of Chase’s claim and terms attendant thereto are set forth in this

                                                             10 stipulation. Based on the terms of the stipulation, Chase shall have a secured claim in the amount

                                                             11 of $245,250.00 amortized over a thirty year period at 5.25% interest per annum for a monthly
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                                                             12 payment of $1,354.28. Chase shall have an unsecured claim in the amount of approximately

                                                             13 $142,075.02.

                                                             14                                                   III.

                                                             15                                     SUMMARY OF THE PLAN

                                                             16          A.     What Creditors And Interest Holders Will Receive Under The Plan

                                                             17                 As required by the Bankruptcy Code, the Plan classifies claims and interests in

                                                             18 various classes according to their right to priority. The Plan states whether each class of claims or
                                                             19 interests is impaired or unimpaired. The Plan provides the treatment each class will receive.

                                                             20          B.     Unclassified Claims

                                                             21                 Certain types of claims are not placed into voting classes; instead they are

                                                             22 unclassified. They are not considered impaired and they do not vote on the Plan because they are

                                                             23 automatically entitled to specific treatment provided for them in the Bankruptcy Code. As such,

                                                             24 the Debtors have not placed the following claims in a class:

                                                             25                 1.      Administrative Expenses

                                                             26                 Administrative expenses are claims for costs or expenses of administering the Case

                                                             27 that are allowed under Bankruptcy Code section 507(a)(2). The Bankruptcy Code requires that all

                                                             28

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                                                              1 administrative claims be paid on the Effective Date unless a particular claimant agrees to a

                                                              2 different treatment.

                                                              3                          The following chart lists all of Debtors' estimated section 507(a)(2) Administrative

                                                              4 Claims and their treatment under the Plan:

                                                              5                                                                                       Total Est. to
                                                                                  Name                Code §     Allowed     Total       Paid By                                    Treatment
                                                                                                                 to Date   Estimated1    Debtor        Be Paid on
                                                              6                                                                          to Date      the Effective
                                                                                                                                                          Date

                                                              7       Clerk's Office Fees                                                                    $0.00    Paid in full on the Effective Date

                                                                      Office of the U.S. Trustee                                                             $0.00    Paid in full on the Effective Date
                                                              8
                                                                      Fees
                                                              9       Jaurigue Law Group,            507(a)(2)     $0.00   $28,500.00    $1,052.00      $40,000.00    In the event that there are unpaid fees
                                                                      general counsel for Debtor                                         (Retainer)                   and expenses that are allowed by the
                                                             10                                                                                                       Court, unless otherwise agreed, the
                                                                                                                                                                      unpaid amounts shall be paid in full,
                                                             11                                                                                                       in Cash, on the later of: (a) the
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                                                                                                                                                                      Effective Date; or (b) the fifth
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                                                             12                                                                                                       Business Day after the order allowing
                                                                                                                                                                      such Administrative Claim becomes a
                                                             13                                                                                                       Final Order.

                                                             14       Administrative Tax Claims      507(a)(1)     $0.00    $8,047.30        $0.00       $8,047.30


                                                             15
                                                                                         2.        Court Approval Of Fees Required
                                                             16
                                                                                         The Court must rule on all fees listed in this chart before the fees will be owed,
                                                             17
                                                                  except for fees owing to the Clerk’s Office and U.S. Trustee or fees to be paid from non-debtor
                                                             18
                                                                  sources. The Professional in question must file and serve a properly noticed fee application, and
                                                             19
                                                                  the Court must rule on the application. Only the amount of fees and expenses allowed by the
                                                             20
                                                                  Court will be owed and required to be paid under the Plan.
                                                             21
                                                                                         As indicated above, the Debtors estimate that they will be required to make
                                                             22
                                                                  $48,047.30 in payments on account of administrative claims on the Effective Date. The Debtors
                                                             23
                                                                  will have sufficient funds on hand to make such payments.
                                                             24
                                                                                         3.        Priority Tax Claims
                                                             25

                                                             26
                                                                  1
                                                             27        All Professional fees are subject to allowance by Order of the Bankruptcy Court.

                                                             28

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                                                              1                          Priority tax claims are certain unsecured income, employment, property and other

                                                              2 taxes described by Bankruptcy Code section 507(a)(8). The Bankruptcy Code requires that each

                                                              3 holder of such a section 507(a)(8) priority tax claim receive the present value of such claim in

                                                              4 deferred cash payments, over a period not exceeding five (5) years from the Petition Date.

                                                              5                          The following chart lists all of Debtors' estimated priority tax claims and their

                                                              6 treatment under the Plan:

                                                              7
                                                                          Description (Name and Type of Tax)      Est. Amount Owed       Date of Assessment                      Treatment

                                                              8    Grand County Treasurer (Property Taxes)            $1,589.92              1/29/2013         Debtors shall make forty-two (42) monthly
                                                                                                                                                               payments in the amount of $37.86 beginning
                                                              9                                                                                                July 1, 2014, and ending December 1, 2017,
                                                                                                                                                               for total payments of $1,590.12.
                                                             10
                                                                   Internal Revenue Service                            $453.86               3/25/2014         Debtors shall make a payment in the amount
                                                                                                                                                               of $453.86 on the Effective Date of the Plan
                                                             11
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                                                                                                                                                               in full satisfaction of the Internal Revenue
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                                                                                                                                                               Service’s priority tax claim.
                                                             12

                                                             13

                                                             14              C.          Classified Claims And Interests

                                                             15                          1.            Classes Of Secured Claims

                                                             16                          Secured Claims are claims secured by liens on property of the estate. Each secured

                                                             17 claim for each Property is given its separate class. Creditors with second liens on particular

                                                             18 properties identified in these classes which are liens wholly unsecured are not treated in these
                                                             19 classes—instead, the claims of those creditors are addressed in Class 11, specifically 11-B, 11-C,

                                                             20 11-D, 11-E, 11-F and 10-G. The following chart lists the ten classes containing the Debtors'

                                                             21 secured pre-petition claims and their treatment under the Plan:

                                                             22
                                                                  Class                                            Insiders            Impaired
                                                                   No.                   Description                (Y/N)                (Y/N)                                 Treatment
                                                             23
                                                                   1         Secured Claim of:                       No                    No             The Debtors shall assume the mortgage and continue
                                                                             Ocwen Loan Servicing, LLC                                                    to pay it according to the terms and conditions of the
                                                             24              (“Ocwen”)                                                                    loan documents related to this loan. The Debtors'
                                                                                                                                  The Claimant in this    current monthly payment to Ocwen on account of its
                                                                             Collateral description:                                                      first priority deed of trust is $2,032.00, which
                                                             25              Sunni’s Way Property                                 Class is Not entitled
                                                                                                                                                          includes principal, interest, tax, and insurance. In
                                                                                                                                  to vote on the Plan.
                                                                             Claim Priority:                                                              accordance with the terms of the loan modification,
                                                             26              First priority deed of trust                                                 the monthly payment will increase to $2,230.62 on
                                                                                                                                                          February 1, 2016, $2,437.84 on February 1, 2017,
                                                                             Collateral Value:                                                            and $2,624.73 on February 1, 2018 for the remaining
                                                             27              $350,000.00                                                                  337 months of the mortgage.
                                                                             Claim Amount:                                                                Pending completion of these payments, the Class 1
                                                             28

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                                                                  Class                                         Insiders        Impaired
                                                              1    No.              Description                  (Y/N)            (Y/N)                                   Treatment
                                                                          $407,985.02                                                              claimant shall retain its lien on the collateral.
                                                              2                                                                                    The treatment of the holder of the class 1 allowed
                                                                                                                                                   claim described in the Plan shall be in full settlement
                                                              3                                                                                    and satisfaction of all Class 1 allowed claims.


                                                              4    2      Secured Claim of:                       No               Yes             The existing Deutsche Bank security documents
                                                                          Deutsche Bank National Trust                                             shall be modified as follows:
                                                              5           Company Solely as Trustee for                    The Claimant in this
                                                                          New Century Home Equity Loan                      Class is entitled to   To the extent the claim of Deutsche Bank becomes an
                                                                          Trust Series 2004-A Asset Backed                  vote on the Plan.      Allowed Secured Claim, such claim will be treated in
                                                              6           Pass-Through Certificates, Series                                        accordance with the terms of the stipulation entered
                                                                          2004-A (“Deutsche Bank”)                                                 into between Debtors and Deutsche Bank (the “Tyrol
                                                                                                                                                   213 Stipulation”).
                                                              7           Collateral description:
                                                                          Tyrol 213 Property                                                       Pursuant to the terms of the Tyrol 213 Stipulation:
                                                              8           Claim Priority:                                                          Commencing July 1, 2014, and continuing to June 1,
                                                                          First priority deed of trust                                             2044, Debtors shall tender monthly principal and
                                                                                                                                                   interest payments to Deutsche Bank in the amount of
                                                              9           Collateral Value:                                                        $778.39, representing payment on Deutsche Bank’s
                                                                          $145,000.00                                                              secured claim at a 5.00% fixed interest rate amortized
                                                             10           Claim Amount:
                                                                                                                                                   over a 360 month schedule.
                                                                          $248,210.44 ($145,000.00 secured                                         In addition to principal and interest payments to
                                                             11           and $103,210.44 unsecured upon                                           Deutsche Bank described above, Debtors shall tender
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                                                                          confirmation pursuant to the terms                                       monthly escrow payments to Deutsche Bank for real
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                                                                          of the stipulation entered into                                          property taxes and/or real property hazard insurance.
                                                             12           between Debtors and Deutsche                                             The current monthly escrow payment is $103.18 but
                                                                          Bank (the “Tyrol 213 Stipulation”)                                       is subject to change. Debtors must obtain Creditors’
                                                             13                                                                                    express written consent if they wish to de-escrow the
                                                                                                                                                   account.

                                                             14                                                                                    In the event of any future default on payments and/or
                                                                                                                                                   maintenance of real property taxes and real property
                                                                                                                                                   hazard insurance, Deutsche Bank shall provide
                                                             15                                                                                    written notice via first class mail to Debtors and
                                                                                                                                                   Debtors’ attorney of record indicating the nature of
                                                             16                                                                                    default. If Debtors fail to cure the default after
                                                                                                                                                   passage of thirty (30) calendar days from the date
                                                                                                                                                   written notice is placed in the mail, Deutsche Bank
                                                             17                                                                                    may file a Motion for Relief and Declaration of
                                                                                                                                                   Default seeking termination of the automatic stay.
                                                             18                                                                                    Pending completion of the plan payments, Detusche
                                                                                                                                                   Bank shall retain its lien on the collateral.
                                                             19                                                                                    The treatment of Deutsche Bank described in the
                                                                                                                                                   Plan shall be in full settlement and satisfaction of all
                                                                                                                                                   Deutsche Bank allowed claims.
                                                             20
                                                                                                                                                   Pursuant to its terms, the Tyrol 213 Stipulation shall
                                                                                                                                                   constitute ballots voting in favor of the Plan.
                                                             21
                                                                   3      Secured Claim of:                       No               Yes             The existing BofA security documents shall be
                                                             22           Bank of America, N.A. (“BofA”)                                           modified as follows:
                                                                                                                           The Claimant in this
                                                                          Collateral description:                           Class is entitled to   To the extent the claim of BofA becomes an Allowed
                                                             23           268 Maple Rd., Thousand Oaks,                     vote on the Plan.      Secured Claim, such claim will be treated in
                                                                          CA 91320-4720 (the “Maple                                                accordance with the terms of the stipulation entered
                                                                          Property”)                                                               into between Debtors and BofA (the “Maple
                                                             24                                                                                    Stipulation”).
                                                                          Claim Priority:
                                                                          First priority deed of trust                                             Pursuant to the terms of the Maple Stipulation:
                                                             25
                                                                          Collateral Value:                                                        Commencing October 1, 2014, and continuing to
                                                                          $375,000.00                                                              September 1, 2044, Debtors shall tender monthly
                                                             26                                                                                    principal and interest payments to BofA in the
                                                                          Approximate Claim Amount:                                                amount of $2,070.76, representing payment on
                                                                          $429,457.48 ($375,000.00 secured                                         BofA’s secured claim at a 5.25% fixed interest rate
                                                             27           and $54,457.48 unsecured upon                                            amortized over a 360 month schedule.
                                                                          confirmation pursuant to the terms
                                                                          of the stipulation entered into                                          In addition to principal and interest payments to
                                                             28

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                                                                  Class                                       Insiders        Impaired
                                                              1    No.               Description               (Y/N)            (Y/N)                                  Treatment
                                                                          between Debtors and BofA (the                                          BofA described above, Debtors shall tender monthly
                                                              2           “Maple Stipulation”)                                                   escrow payments to BofA for real property taxes
                                                                                                                                                 and/or real property hazard insurance. The current
                                                                                                                                                 monthly escrow payment is $314.26 but is subject to
                                                              3                                                                                  change.
                                                                                                                                                 In the event of any future default on payments and/or
                                                              4                                                                                  maintenance of real property taxes and real property
                                                                                                                                                 hazard insurance, BofA shall provide written notice
                                                              5                                                                                  via first class mail to Debtors and Debtors’ attorney
                                                                                                                                                 of record indicating the nature of default. If Debtors
                                                                                                                                                 fail to cure the default after passage of thirty (30)
                                                              6                                                                                  calendar days from the date written notice is placed
                                                                                                                                                 in the mail, BofA may file a Motion for Relief and
                                                                                                                                                 Declaration of Default seeking termination of the
                                                              7                                                                                  automatic stay.
                                                                                                                                                 Pending completion of the plan payments, BofA shall
                                                              8                                                                                  retain its lien on the collateral.
                                                                                                                                                 The treatment of BofA described in the Plan shall be
                                                              9                                                                                  in full settlement and satisfaction of all BofA allowed
                                                                                                                                                 claims.
                                                             10                                                                                  Pursuant to its terms, the Maple Stipulation shall
                                                                                                                                                 constitute ballots voting in favor of the Plan.
                                                             11
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                                                                   4      Secured Claim of:                     No               Yes             The existing Green Tree security documents shall be
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                                                                          Green Tree Servicing, LLC                                              modified as follows:
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                                                             12           (“Green Tree”)
                                                                                                                                                 To the extent the claim of Green Tree becomes an
                                                                          Collateral description:                        The Claimant in this    Allowed Secured Claim, such claim will be treated as
                                                             13           County Road Property                            Class is entitled to   follows:
                                                                                                                          vote on the Plan.
                                                                          Claim Priority:                                                        From the Effective Date through July 1, 2044 or until
                                                             14           First priority deed of trust                                           the Loan is paid in full, Debtors shall make monthly
                                                                                                                                                 payments at 4.25% to Green Tree in the amount of
                                                                          Collateral Value= $128,000.00                                          $429.88.
                                                             15
                                                                          Claim Amount= $87,384.43                                               Pending completion of the plan payments, Class 4
                                                             16                                                                                  claimant shall retain its lien on the collateral.
                                                                                                                                                 The treatment of holder of class 4 allowed claim
                                                             17                                                                                  described in the Plan shall be in full settlement and
                                                                                                                                                 satisfaction of all Class 4 allowed claims.

                                                             18                                                                                  If the Class 4 claimant does not consent to the
                                                                                                                                                 treatment provided for herein, the Debtors will
                                                                                                                                                 cramdown the treatment to the secured portion of the
                                                             19                                                                                  Class 4 creditor’s claim under the provisions of
                                                                                                                                                 Section 1129(b)(2)(A) of the Code).
                                                             20    5      Secured Claim of:                     Yes              Yes             The existing security documents of Eugene and
                                                                          Eugene and Jaqueline Larson                                            Jaqueline Larson’s shall be modified as follows:
                                                             21           Collateral description:                                                To the extent the claim of Eugene and Jaqueline
                                                                          County Road Property                           The Claimant in this    Larson’s becomes an Allowed Secured Claim, such
                                                                                                                          Class is entitled to   claim will be treated as follows:
                                                             22           Claim Priority:                                 vote on the Plan.
                                                                          Second priority lien                                                   Class 5 claimant shall retain its lien on the collateral
                                                             23                                                                                  and shall be entitled to a balloon payment on July 1,
                                                                          Collateral Value= $128,000.00                                          2044 of any outstanding balance on the loan. Interest
                                                                          Claim Amount= $100,000.00                                              on the principal shall accrue at 4.25%.
                                                             24           ($40,615.57 secured and                                                The treatment of holder of class 5 allowed claim
                                                                          $59,384.43 general unsecured                                           described in the Plan shall be in full settlement and
                                                             25           deficiency claim- see Class 11-D                                       satisfaction of all Class 5 allowed claims.
                                                                          for treatment of unsecured
                                                                          deficiency claim)                                                      If the Class 5 claimant does not consent to the
                                                             26                                                                                  treatment provided for herein, the Debtors will
                                                                                                                                                 cramdown the treatment to the secured portion of the
                                                                                                                                                 Class 5 creditor’s claim under the provisions of
                                                             27                                                                                  Section 1129(b)(2)(A) of the Code).

                                                             28

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                                                                  Class                                            Insiders        Impaired
                                                              1    No.                Description                   (Y/N)            (Y/N)                                  Treatment
                                                                   6      Secured Claim of:                          No               Yes             The existing U.S. Bank security documents shall be
                                                              2           U.S. Bank, N.A., as Trustee,                                                modified as follows:
                                                                          Successor in Interest to Bank of                    The Claimant in this
                                                                                                                               Class is entitled to   To the extent the claim of U.S. Bank becomes an
                                                              3           America, N.A., as Trustee, as
                                                                                                                               vote on the Plan.      Allowed Secured Claim, such claim will be treated in
                                                                          successor to LaSalle Bank N.A., as
                                                                          Trustee, on behalf of the holders of                                        accordance with the terms of the stipulation entered
                                                              4           WaMu Mortgage Pass-Through                                                  into between Debtors and U.S. Bank (the “Juniper
                                                                          Certs, Series 2005-AR15, its                                                Stipulation”) and filed on June 18, 2014, as
                                                                          assignees and/or successors, by and                                         Document No. 247.
                                                              5
                                                                          through its servicing agent Select                                          Pursuant to the terms of the Juniper Stipulation:
                                                                          Portfolio Servicing, Inc. (“U.S.
                                                              6           Bank”)                                                                      Commencing August 1, 2014, and continuing to the
                                                                                                                                                      maturity date of June 1, 2036, Debtors shall tender
                                                                          Collateral description:                                                     monthly principal and interest payments to U.S. Bank
                                                              7           201 Juniper Springs Dr., Unit 215,                                          in the amount of $1,294.06, representing payment on
                                                                          Mammoth Lakes, CA 93546 (the                                                U.S. Bank’s secured claim at a 5.25% fixed interest
                                                                          “Juniper Property”)
                                                              8                                                                                       rate amortized over a 480 month schedule. On the
                                                                          Claim Priority:                                                             maturity date of June 1, 2036, all outstanding
                                                                          First priority deed of trust                                                amounts owing on the loan will be due.
                                                              9
                                                                          Collateral Value:                                                           Debtors will be responsible for maintenance of taxes
                                                                          $260,000.00                                                                 and insurance for the Juniper Property directly. If
                                                             10                                                                                       Debtors default on maintaining taxes and/or
                                                                          Approximate Claim Amount:                                                   insurance, U.S. Bank may advance funds as
                                                             11           $426,846.66 ($260,000.00 secured                                            described in the original deed of trust and note and
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                                                                          and $166,846.66 unsecured upon                                              impound the account to collect escrow advances and
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                                                                          confirmation pursuant to the terms                                          maintaining escrow account for future disbursements.
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                                                             12           of the stipulation entered into
                                                                          between Debtors and U.S. Bank                                               Pending completion of the plan payments, U.S. Bank
                                                                          (the “Juniper Stipulation”) and filed                                       shall retain its lien on the collateral.
                                                             13           on June 18, 2014, as Document No.                                           The treatment of U.S. Bank described in the Plan
                                                                          247.                                                                        shall be in full settlement and satisfaction of all U.S.
                                                             14                                                                                       Bank allowed claims.
                                                                                                                                                      Pursuant to its terms, the Juniper Stipulation shall
                                                             15                                                                                       constitute ballots voting in favor of the Plan.

                                                             16
                                                                   7      Secured Claim of:                          No               No              Debtors intend to surrender this property. Upon
                                                                          The Bank of New York Mellon                                                 Debtors’ surrender of the Ironhorse Property, Mellon
                                                             17           f/k/a The Bank of New York as                                               shall be free to pursue its State law rights in the
                                                                          Successor to JP Morgan Chase                                                Ironhorse Property on, or after, the Effective Date of
                                                             18           Bank, N.A., as Trustee for the                                              the Plan without further order of this Court.
                                                                          Holders of Sami II 2006-AR6,
                                                                          MTG Pass-Through Certs, Series
                                                             19           2006-AR6
                                                                          Collateral description:
                                                             20           Ironhorse Property
                                                                          Claim Priority:
                                                             21           First Priority deed of trust
                                                                          Collateral Value: $250,000.00
                                                             22
                                                                          Claim Amount: $296,113.75
                                                             23    8      Secured Claim of:                          No               No              Debtors intend to surrender this property. Upon
                                                                          Ironhorse Condominiums                                                      Debtors’ surrender of the Ironhorse Property,
                                                                          Association, Inc. (“Ironhorse”)                                             Ironhorse shall be free to pursue its State law rights
                                                             24                                                                                       in the Ironhorse Property on, or after, the Effective
                                                                          Collateral description:                                                     Date of the Plan without further order of this Court.
                                                             25           Ironhorse Property

                                                                          Claim Priority:
                                                             26           Second Priority judgment lien

                                                                          Claim Amount: $87,447.50
                                                             27
                                                                   9      Secured Claim of:                          No               Yes             The existing Chase Security Documents shall be
                                                             28

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                                                                  Class                                         Insiders        Impaired
                                                              1    No.               Description                 (Y/N)            (Y/N)                                    Treatment
                                                                          JPMorgan Chase Bank, National                                             modified as follows:
                                                                          Association (“Chase”)                            The Claimant in this
                                                              2                                                             Class is entitled to    To the extent the claim of Chase becomes an
                                                                          Collateral description:                           vote on the Plan.       Allowed Secured Claim, such claim will be treated as
                                                              3           Tyrol 214 Property                                                        follows:
                                                                          Claim Priority:                                                           From the November 1, 2013 through October 1, 2043
                                                              4           First Priority deed of trust                                              or until the Loan is paid in full, Debtors shall make
                                                                                                                                                    monthly payments of $1,354.28 and shall abide by
                                                                          Collateral Value: $245,250.00                                             the term contained in the stipulation entered into by
                                                              5           Claim Amount: $387,325.02                                                 the Debtors and Chase, a copy of which is attached to
                                                                          ($245,250.00 secured and                                                  the Disclosure Statement as Exhibit “B.”
                                                              6           $142,075.02 general unsecured                                             Pending completion of the plan payments, Class 9
                                                                          deficiency claim- see Class 11-F                                          claimant shall retain its lien on the collateral.
                                                                          for treatment of unsecured
                                                              7           deficiency claim)                                                         If the Class 9 claimant does not consent to the
                                                                                                                                                    treatment provided for herein, the Debtors will
                                                              8                                                                                     cramdown the treatment to the secured portion of the
                                                                                                                                                    Class 9 creditor’s claim under the provisions of
                                                                                                                                                    Section 1129(b)(2)(A) of the Code.
                                                              9
                                                                                                                                                    The treatment of holder of class 9 allowed claim
                                                                                                                                                    described in the Plan shall be in full settlement and
                                                             10                                                                                     satisfaction of all Class 9 allowed claims.

                                                             11
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                                                                   10     Secured Claim of :                      No               Yes              To the extent the claim of Schools FCU becomes an
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                                                                          Schools Federal Credit Union                                              Allowed Secured Claim, such claim will be treated as
                                                             12           (“Schools FCU”)                                    The Claimaint in       follows:
                                                                                                                           this Class is entitled
                                                                          Collateral description:                           to vote on the Plan.    From the Effective Date through July 1, 2044 or until
                                                             13           2011 Volkswagen Jetta                                                     the Loan is paid in full, Debtors shall make monthly
                                                                                                                                                    payments of $328.90.
                                                                          Collateral Value: $17,750.00
                                                             14                                                                                     Pending completion of the plan payments, Class 10
                                                                          Claim Amount: Approx.                                                     claimant shall retain its lien on the collateral.
                                                                          $17,750.00
                                                             15                                                                                     If the Class 10 claimant does not consent to the
                                                                                                                                                    treatment provided for herein, the Debtors will
                                                             16                                                                                     cramdown the treatment to the secured portion of the
                                                                                                                                                    Class 10 creditor’s claim under the provisions of
                                                                                                                                                    Section 1129(b)(2)(A) of the Code.
                                                             17
                                                                                                                                                    The treatment of holder of Class 10 allowed claim
                                                                                                                                                    described in the Plan shall be in full settlement and
                                                             18                                                                                     satisfaction of all Class 10 allowed claims.

                                                             19

                                                             20                       2.            Classes Of Priority Unsecured Claims
                                                             21                       Certain Priority Claims that are referred to in Bankruptcy Code sections 507(a)(3),
                                                             22 (a)(4), (a)(5), (a)(6), and (a)(7) are required to be placed in classes. These types of Claims are

                                                             23 entitled to priority treatment as follows: the Bankruptcy Code requires that each holder of such a

                                                             24 claim receive cash on the Effective Date equal to the allowed amount of such claim. However, a

                                                             25 class of unsecured priority claim holders may vote to accept deferred cash payments of a value, as

                                                             26 of the Effective Date, equal to the allowed amount of such Claims. The Debtors are not aware of

                                                             27 any claims that would qualify as 11 U.S.C. §§ 507(a)(3), (a)(4), (a)(5), (a)(6) and (a)(7) Priority

                                                             28

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                                                              1 Unsecured Claims under the Plan.

                                                              2                      3.         Class Of General Unsecured Claims

                                                              3                      All of the Debtors' general unsecured claims are treated in Class 11. General

                                                              4 unsecured claims are unsecured claims not entitled to priority under Bankruptcy Code section

                                                              5 507(a). A schedule of the foregoing claims is attached to the Disclosure Statement as Exhibit

                                                              6 "C". The following chart identifies the Plan's treatment of the class containing all of the Debtors'

                                                              7 general unsecured claims. Creditors who possess unsecured deficiency claims are separately

                                                              8 identified within this class. Debtors’ net disposable income, as projected in Exhibit "A", will be

                                                              9 distributed to Class 11 General Unsecured creditors. Additionally, if the combined quarterly net

                                                             10 income of Debtors exceeds the projections set forth in Exhibit "A", the amount which exceeds

                                                             11 the Debtors' projections will be distributed to Class 11 creditors on a pro-rata basis within 30 days
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                                                             12 after the end of such quarter.
                                                                  Class                                         Insiders        Impaired
                                                             13    No.               Description                 (Y/N)            (Y/N)                                    Treatment
                                                                  11-A    General unsecured claims (not           No               Yes             Holders of Class 11-A allowed claims will be paid on a
                                                             14           including deficiency claims)                                             pro rata basis with other holders of Class 11 claims a total
                                                                                                                                                   of $13,204.80, which will be paid in monthly installments
                                                                          Total amount of claims =
                                                             15           approximately $596,888.69                        The Claimant in this    over a five year period commencing on the Effective
                                                                                                                            Class is entitled to   Date, with fourteen (14) installments of $489.78 until
                                                                                                                            vote on the Plan.      February 1, 2016, twelve (12) installments of $291.16
                                                             16                                                                                    until February 1, 2017, and thirty-four (34) installments
                                                                                                                                                   of $83.94 from February 1, 2017 on, in accordance with
                                                             17                                                                                    the projections set forth in Exhibit "A" to the Disclosure
                                                                                                                                                   Statement.

                                                             18                                                                                    Additionally, if the combined quarterly net income of
                                                                                                                                                   Debtors exceeds the projections set forth in Exhibit "A",
                                                                                                                                                   the amount which exceeds the Debtors' projections will
                                                             19                                                                                    be distributed to Class 11 creditors on a pro-rata basis
                                                                                                                                                   within 30 days after the end of such quarter.
                                                             20                                                                                    Based on the figures set forth above, the Debtors estimate
                                                                                                                                                   that there will be at least $13,204.80 distributed to
                                                                                                                                                   holders of Class 11 allowed claims. The Debtors estimate
                                                             21                                                                                    that each holder of a Class 11-A allowed claim will
                                                                                                                                                   receive at least 1.2% of the amount of its Class 11-A
                                                             22                                                                                    allowed claim out of the proposed funds.
                                                                                                                                                   The treatment of holders of Class 11-A allowed claims
                                                             23                                                                                    described in the Plan shall be in full settlement and
                                                                                                                                                   satisfaction of all Class 11-A allowed claims.
                                                             24                                                                                    If the creditors in Class 11 do not consent to the treatment
                                                                                                                                                   provided for herein, the Debtors will cramdown the
                                                                                                                                                   creditors' claim under the provisions of Section
                                                             25                                                                                    1129(b)(2)(A) of the Code.
                                                                  11-B    Deficiency claim of Deutsche            No               Yes             Pursuant to 11 U.S.C. §506(a), Deutsche possesses a
                                                             26                                                                                    secured claim in the amount of $145,000.00 (which is
                                                                          Relates to interest in:                                                  treated above in Class 2) and an unsecured deficiency
                                                                          Tyrol 213 Property (see description
                                                             27           in Class 2, above):                              The Claimant in this    claim in the amount of $103,210.44, which is treated in
                                                                                                                            Class is entitled to   this Class 11-B.
                                                             28           Amount of Unsecured Deficiency                    vote on the Plan.



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                                                                  Class                                        Insiders        Impaired
                                                              1    No.              Description                 (Y/N)            (Y/N)                                    Treatment
                                                                          Claim : $103,210.44
                                                                                                                                                  On account of its claim, Deutsche will be paid on a pro
                                                              2                                                                                   rata basis with other holders of Class 11 claims a total of
                                                                                                                                                  $13,204.80, which will be paid in monthly installments
                                                              3                                                                                   over a five year period commencing on the Effective
                                                                                                                                                  Date, with fourteen (14) installments of $489.78 until
                                                                                                                                                  February 1, 2016, twelve (12) installments of $291.16
                                                              4                                                                                   until February 1, 2017, and thirty-four (34) installments
                                                                                                                                                  of $83.94 from February 1, 2017 on, in accordance with
                                                              5                                                                                   the projections set forth in Exhibit "A" to the Disclosure
                                                                                                                                                  Statement.

                                                              6                                                                                   Additionally, if the combined quarterly net income of
                                                                                                                                                  Debtors exceeds the projections set forth in Exhibit "A",
                                                                                                                                                  the amount which exceeds the Debtors' projections will
                                                              7                                                                                   be distributed to Class 11 creditors on a pro-rata basis
                                                                                                                                                  within 30 days after the end of such quarter.
                                                              8                                                                                   Based on the figures set forth above, the Debtors estimate
                                                                                                                                                  that there will be at least $13,204.80 distributed to
                                                                                                                                                  holders of Class 11 allowed claims. The Debtors estimate
                                                              9                                                                                   that Deustche will receive at least 1.2% of the amount of
                                                                                                                                                  its Class 11-B allowed claim out of the proposed funds.
                                                             10                                                                                   The treatment of holders of Class 11-B allowed claims
                                                                                                                                                  described in the Plan shall be in full settlement and
                                                             11                                                                                   satisfaction of all Class 11-B allowed claims.
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                                                                                                                                                  If the creditors in Class 11 do not consent to the treatment
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                                                             12                                                                                   provided for herein, the Debtors will cramdown the
                                                                                                                                                  creditors' claims under the provisions of Section
                                                                                                                                                  1129(b)(2)(A) of the Code.
                                                             13
                                                                  11-C    Deficiency claim of BofA               No               Yes             Pursuant to 11 U.S.C. §506(a), BofA possesses a secured
                                                                                                                                                  claim in the amount of $375,000.00 (which is treated
                                                             14           Relates to interest in:                                                 above in Class 3) and an unsecured deficiency claim in
                                                                          Maple Property (see description in                                      the amount of $54,475.48, which is treated in this Class
                                                                          Class 3, above):                                The Claimant in this
                                                             15                                                            Class is entitled to   11-C.
                                                                          Amount of Unsecured Deficiency                   vote on the Plan.      On account of its claim, BofA will be paid on a pro rata
                                                             16           Claim: $54,457.48                                                       basis with other holders of Class 11 claims a total of
                                                                                                                                                  $13,204.80, which will be paid in monthly installments
                                                                                                                                                  over a five year period commencing on the Effective
                                                             17                                                                                   Date, with fourteen (14) installments of $489.78 until
                                                                                                                                                  February 1, 2016, twelve (12) installments of $291.16
                                                             18                                                                                   until February 1, 2017, and thirty-four (34) installments
                                                                                                                                                  of $83.94 from February 1, 2017 on, in accordance with
                                                                                                                                                  the projections set forth in Exhibit "A" to the Disclosure
                                                             19                                                                                   Statement.
                                                                                                                                                  Additionally, if the combined quarterly net income of
                                                             20                                                                                   Debtors exceeds the projections set forth in Exhibit "A",
                                                                                                                                                  the amount which exceeds the Debtors' projections will
                                                                                                                                                  be distributed to Class 11 creditors on a pro-rata basis
                                                             21                                                                                   within 30 days after the end of such quarter.

                                                             22                                                                                   Based on the figures set forth above, the Debtors estimate
                                                                                                                                                  that there will be at least $13,204.80 distributed to
                                                                                                                                                  holders of Class 11 allowed claims. The Debtors estimate
                                                             23                                                                                   that BofA will receive at least 1.2% of the amount of its
                                                                                                                                                  Class 11-C claim out of the proposed funds.
                                                             24                                                                                   The treatment of holders of Class 11-C allowed claims
                                                                                                                                                  described in the Plan shall be in full settlement and
                                                                                                                                                  satisfaction of all Class 11-C allowed claims.
                                                             25
                                                                                                                                                  If the creditors in Class 11 do not consent to the treatment
                                                                                                                                                  provided for herein, the Debtors will cramdown the
                                                             26                                                                                   creditors' claims under the provisions of Section
                                                                                                                                                  1129(b)(2)(A) of the Code.
                                                             27   11-D    Deficiency claim of Eugene and         Yes              Yes             Pursuant to 11 U.S.C. §506(a), Eugene and Jaqueline
                                                                                                                                                  Larson possess a secured claim in the amount of
                                                             28

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                                                                  Class                                          Insiders        Impaired
                                                              1    No.               Description                  (Y/N)            (Y/N)                                     Treatment
                                                                          Jaqueline Larson                                                          $40,615.57 (which is treated above in Class 5) and an
                                                              2           Relates to interest in:
                                                                                                                                                    unsecured deficiency claim in the amount of $59,384.43,
                                                                                                                            The Claimant in this    which is treated in this Class 11-D.
                                                                          County Road Property (see
                                                                                                                             Class is entitled to
                                                              3           description in Class 5, above)
                                                                                                                             vote on the Plan.
                                                                                                                                                    On account of their claim, Eugene and Jaqueline Larson
                                                                                                                                                    will be paid on a pro rata basis with other holders of Class
                                                                          Amount of Unsecured Deficiency                                            11 claims a total of $13,204.80, which will be paid in
                                                              4           Claim: $59,384.43                                                         monthly installments over a five year period commencing
                                                                                                                                                    on the Effective Date, with fourteen (14) installments of
                                                              5                                                                                     $489.78 until February 1, 2016, twelve (12) installments
                                                                                                                                                    of $291.16 until February 1, 2017, and thirty-four (34)
                                                                                                                                                    installments of $83.94 from February 1, 2017 on, in
                                                              6                                                                                     accordance with the projections set forth in Exhibit "A" to
                                                                                                                                                    the Disclosure Statement.
                                                              7                                                                                     Additionally, if the combined quarterly net income of
                                                                                                                                                    Debtors exceeds the projections set forth in Exhibit "A",
                                                                                                                                                    the amount which exceeds the Debtors' projections will
                                                              8                                                                                     be distributed to Class 11 creditors on a pro-rata basis
                                                                                                                                                    within 30 days after the end of such quarter.
                                                              9                                                                                     Based on the figures set forth above, the Debtors estimate
                                                                                                                                                    that there will be at least $13,204.80 distributed to
                                                             10                                                                                     holders of Class 11 allowed claims. The Debtors estimate
                                                                                                                                                    that Eugene and Jaqueline Larson will receive at least
                                                                                                                                                    1.2% of the amount of its Class 11-D claim out of the
                                                             11
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                                                                                                                                                    proposed funds.
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                                                                                                                                                    The treatment of holders of Class 11-D allowed claims
                                                             12                                                                                     described in the Plan shall be in full settlement and
                                                                                                                                                    satisfaction of all Class 11-D allowed claims.
                                                             13                                                                                     If the creditors in Class 11 do not consent to the treatment
                                                                                                                                                    provided for herein, the Debtors will cramdown the
                                                             14                                                                                     creditors' claims under the provisions of Section
                                                                                                                                                    1129(b)(2)(A) of the Code.

                                                             15   11-E    Deficiency claim of U.S. Bank            No               Yes             Pursuant to 11 U.S.C. §506(a), U.S. Bank possesses a
                                                                                                                                                    secured claim in the amount of $260,000.00 (which is
                                                                          Relates to interest in:                                                   treated above in Class 6) and an unsecured deficiency
                                                             16           Juniper Property (see description in
                                                                                                                            The Claimant in this    claim in the amount of $166,846.66, which is treated in
                                                                          Class 6, above)                                                           this Class 11-E.
                                                                                                                             Class is entitled to
                                                             17           Amount of Unsecured Deficiency                     vote on the Plan.      On account of its claim, U.S. Bank will be paid on a pro
                                                                          Claim: $166,846.66                                                        rata basis with other holders of Class 11 claims a total of
                                                             18                                                                                     $13,204.80, which will be paid in monthly installments
                                                                                                                                                    over a five year period commencing on the Effective
                                                                                                                                                    Date, with fourteen (14) installments of $489.78 until
                                                             19                                                                                     February 1, 2016, twelve (12) installments of $291.16
                                                                                                                                                    until February 1, 2017, and thirty-four (34) installments
                                                                                                                                                    of $83.94 from February 1, 2017 on, in accordance with
                                                             20                                                                                     the projections set forth in Exhibit "A" to the Disclosure
                                                                                                                                                    Statement.
                                                             21                                                                                     Additionally, if the combined quarterly net income of
                                                                                                                                                    Debtors exceeds the projections set forth in Exhibit "A",
                                                             22                                                                                     the amount which exceeds the Debtors' projections will
                                                                                                                                                    be distributed to Class 11 creditors on a pro-rata basis
                                                                                                                                                    within 30 days after the end of such quarter.
                                                             23
                                                                                                                                                    Based on the figures set forth above, the Debtors estimate
                                                                                                                                                    that there will be at least $13,204.80 distributed to
                                                             24                                                                                     holders of Class 11 allowed claims. The Debtors estimate
                                                                                                                                                    that U.S. Bank will receive at least 1.2% of the amount of
                                                             25                                                                                     its Class 11-E claim out of the proposed funds.
                                                                                                                                                    The treatment of holders of Class 11-E allowed claims
                                                             26                                                                                     described in the Plan shall be in full settlement and
                                                                                                                                                    satisfaction of all Class 11-E allowed claims.

                                                             27                                                                                     If the creditors in Class 11 do not consent to the treatment
                                                                                                                                                    provided for herein, the Debtors will cramdown the
                                                                                                                                                    creditors' claims under the provisions of Section
                                                             28

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                                                                  Class                                         Insiders        Impaired
                                                              1    No.               Description                 (Y/N)            (Y/N)                                  Treatment
                                                                                                                                                   1129(b)(2)(A) of the Code.
                                                              2   11-F    Deficiency claim of Chase               No               Yes             Pursuant to 11 U.S.C. §506(a), Chase possesses a secured
                                                                                                                                                   claim in the amount of $242,250.00 (which is treated
                                                              3           Relates to interest in:                          The Claimant in this    above in Class 8) and an unsecured deficiency claim in
                                                                          Tyrol 214 Property (see description               Class is entitled to   the amount of $142,075.02, which is treated in this Class
                                                                          in Class 8, above)                                vote on the Plan.      11-F.
                                                              4           Amount of Unsecured Deficiency                                           On account of its claim, Chase will be paid on a pro rata
                                                                          Claim : $142,075.02                                                      basis with other holders of Class 11 claims a total of
                                                              5                                                                                    $13,204.80, which will be paid in monthly installments
                                                                                                                                                   over a five year period commencing on the Effective
                                                              6                                                                                    Date, with fourteen (14) installments of $489.78 until
                                                                                                                                                   February 1, 2016, twelve (12) installments of $291.16
                                                                                                                                                   until February 1, 2017, and thirty-four (34) installments
                                                              7                                                                                    of $83.94 from February 1, 2017 on, in accordance with
                                                                                                                                                   the projections set forth in Exhibit "A" to the Disclosure
                                                                                                                                                   Statement.
                                                              8
                                                                                                                                                   Additionally, if the combined quarterly net income of
                                                              9                                                                                    Debtors exceeds the projections set forth in Exhibit "A",
                                                                                                                                                   the amount which exceeds the Debtors' projections will
                                                                                                                                                   be distributed to Class 11 creditors on a pro-rata basis
                                                             10                                                                                    within 30 days after the end of such quarter.
                                                                                                                                                   Based on the figures set forth above, the Debtors estimate
                                                             11                                                                                    that there will be at least $13,204.80 distributed to
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                                                                                                                                                   holders of Class 11 allowed claims. The Debtors estimate
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                                                                                                                                                   that Chase will receive at least 1.2% of the amount of its
                                                             12                                                                                    Class 11-F claim out of the proposed funds.
                                                                                                                                                   The treatment of holders of Class 11-F allowed claims
                                                             13                                                                                    described in the Plan shall be in full settlement and
                                                                                                                                                   satisfaction of all Class 11-F allowed claims.
                                                             14                                                                                    If the creditors in Class 11 do not consent to the treatment
                                                                                                                                                   provided for herein, the Debtors will cramdown the
                                                             15                                                                                    creditors' claims under the provisions of Section
                                                                                                                                                   1129(b)(2)(A) of the Code.
                                                             16
                                                                                     4.         Interest Holders
                                                             17
                                                                                     Interest holders are the parties who hold an ownership interest (i.e., equity interest)
                                                             18
                                                             19 in the Debtors. The Debtors are individuals and therefore the only interest holders.
                                                                          D.         Means Of Effectuating The Plan
                                                             20
                                                                                     1.         Funding For The Plan
                                                             21
                                                                                     The Plan will be funded by income from operations of SunSnow Lodging, Mobile
                                                             22

                                                             23 Techie and Debtor Stephanie Larson’ wages as provided in Exhibit "A" hereto.
                                                                             2.      Composition of the Reorganized Debtors and Post-Confirmation
                                                             24
                                                                                                Management
                                                             25
                                                                                     The Reorganized Debtors shall remain individuals. The Reorganized Debtors shall
                                                             26

                                                             27 be the persons responsible for managing their financial affairs.
                                                                               3.     Disbursing Agent
                                                             28

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                                                              1                  The Reorganized Debtors shall act as disbursing agents for purposes of making all

                                                              2 distributions provided for under the Plan. The Reorganized Debtors shall serve without bond and

                                                              3 shall receive no compensation for distribution services rendered and expenses incurred pursuant to

                                                              4 the Plan.

                                                              5                  4.     Objection to Claims

                                                              6                  The Debtors or the Reorganized Debtors, as the case may be, and any party in

                                                              7 interest may review all claims filed or deemed filed and may object to or seek subordination of

                                                              8 any claim filed or scheduled in this Case. The deadline to file objections to claims shall be 120

                                                              9 days after the Effective Date. As provided by Section 502(c) of the Bankruptcy Code, the Court

                                                             10 may estimate any contingent, unliquidated, or disputed claim for purposes of confirmation of the

                                                             11 Plan. The Court shall retain jurisdiction over the Debtors, the Reorganized Debtors and the Case
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                                                             12 to resolve such objections to claims following the confirmation of the Plan, if necessary.

                                                             13                  Nothing contained in the Plan shall constitute a waiver or release by the Debtors of

                                                             14 any rights of setoff or recoupment, or of any defense, they may have with respect to any claim.

                                                             15 The Reorganized Debtors will withhold from property to be distributed under the plan and will

                                                             16 place in reserve a sufficient amount of cash to be distributed on account of claims that are disputed

                                                             17 and have not been allowed as of the date of distribution to creditors ("Disputed Claims") of any

                                                             18 particular class as if such claims were allowed in full.
                                                             19                  5.     Interest Pending Allowance of Claims

                                                             20                  Except as specifically provided for in the Plan, in the order confirming the Plan, or

                                                             21 in some other order of the Court, interest shall not accrue on claims and no holder of a claim shall

                                                             22 be entitled to interest accruing on or after the Petition Date on any claim.

                                                             23                  To the extent the Debtors or any party in interest objects to the allowance of any

                                                             24 claim, nothing in the Plan or herein shall be deemed to imply or create for the holders of any

                                                             25 Disputed Claims any entitlement to receive interest upon the allowed amount of any such

                                                             26 Disputed Claims as a result, inter alia, of the delay in payment of such claims.

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                                                              1                  6.     Distributions to be Made Pursuant to the Plan

                                                              2                  Distributions to be made by the Reorganized Debtors on the Effective Date on

                                                              3 account of any claim shall be made on the Effective Date or as promptly thereafter as practicable.

                                                              4 Distributions to be made by the Reorganized Debtors under the plan shall be made by check drawn

                                                              5 on a domestic bank or by wire transfer, at the sole election of the Reorganized Debtors.

                                                              6                  Except as otherwise agreed to by the Reorganized Debtors in writing, distributions

                                                              7 to be made to holders of allowed claims pursuant to the Plan may be delivered by regular first-

                                                              8 class mail, postage prepaid, to the address shown in the Debtors' schedules, as they may from time

                                                              9 to time be amended in accordance with Bankruptcy Rule 1009, or, if a different address is stated in

                                                             10 a Proof of Claim duly filed with the Court, to such address.

                                                             11                  Checks issued by the Reorganized Debtors to pay allowed claims shall be null and
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                                                             12 void if not negotiated within 60 days after the date of issuance thereof. Requests for reissuance of

                                                             13 any check shall be made to the Reorganized Debtors by the holder of the Allowed Claim to whom

                                                             14 such check originally was issued, prior to the expiration of 120 days from the date of issuance of

                                                             15 such check. After such date, the claim shall be deemed disallowed and the monies otherwise

                                                             16 payable on account of such claim shall revest in the Reorganized Debtors free and clear of all

                                                             17 claims and interests.

                                                             18                  In connection with the Plan and any instruments issued in connection therewith, the
                                                             19 Reorganized Debtors shall comply with all applicable withholding and reporting requirements

                                                             20 imposed by any federal, state or local taxing authority, and all distributions under the Plan shall be

                                                             21 subject to any such withholding or reporting requirements.

                                                             22                  7.     Exculpations And Releases

                                                             23                  To the maximum extent permitted by law, neither the Debtors, the Estate, nor any

                                                             24 of their employees, agents, representatives, or the professionals employed or retained by any of

                                                             25 them, whether or not by Bankruptcy Court order (each, a "Released Person"), shall have or incur

                                                             26 liability to any person or entity for an act taken or omission made in good faith in connection with

                                                             27 or related to the formulation of the Plan, this Disclosure Statement, or a contract, instrument,

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                                                              1 release or other agreement or document created in connection therewith, the solicitation of

                                                              2 acceptances for or confirmation of the Plan, or the consummation and implementation of the Plan

                                                              3 and the transactions contemplated therein. Each Released Person shall in all respects be entitled to

                                                              4 reasonably rely on the advice of counsel with respect to its duties and responsibilities under the

                                                              5 Plan.

                                                              6                  8.      Injunctions

                                                              7                  The Confirmation Order shall enjoin the prosecution, whether directly, derivatively

                                                              8 or otherwise, of any claim, obligation, suit, judgment, damage, demand, debt, right, cause of

                                                              9 action, liability or interest released, discharged or terminated pursuant to the Plan.

                                                             10                  Except as provided in the Plan or the Confirmation Order, as of the Effective Date,

                                                             11 all entities that have held, currently hold or may hold a claim or other debt or liability that is
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                                                             12 discharged or an interest or other right of an equity security holder that is terminated pursuant to

                                                             13 the terms of the Plan are permanently enjoined from taking any of the following actions against

                                                             14 the Debtors, the Estate, or their property on account of any such discharged claims, debts or

                                                             15 liabilities or terminated interests or rights: (i) commencing or continuing, in any manner or in any

                                                             16 place, any action or other proceeding; (ii) enforcing, attaching, collecting or recovering in any

                                                             17 manner any judgment, award, decree, or order; (iii) creating, perfecting or enforcing any lien or

                                                             18 encumbrance; (iv) asserting a setoff, right of subrogation or recoupment of any kind against any
                                                             19 debt, liability or obligation due to the Debtors; and (v) commencing or continuing any action in

                                                             20 any manner, in any place that does not comply with or is inconsistent with the provisions of the

                                                             21 Plan.

                                                             22                  By accepting distribution pursuant to the Plan, each holder of an allowed claim or

                                                             23 allowed interest receiving distributions pursuant to the Plan will be deemed to have specifically

                                                             24 consented to the injunctions set forth in this Section.

                                                             25          E.      Risk Factors

                                                             26                  There is no foreseeable risk of default for payments required to be made on the

                                                             27 Effective Date of the Plan. However, a risk exists that the projected payments will not be made in

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                                                              1 the event that the business operations of SunSnow Lodging or Mobile Techie generate less

                                                              2 revenues, or increased expenses. If the Debtors default under the Plan, a risk exists that one or

                                                              3 more of the secured creditors will foreclose on a particular property or properties which will

                                                              4 negatively affect the Debtors' ability to continue making Plan payments. Notwithstanding the

                                                              5 foregoing, the Debtors are using best efforts to maintain and improve operations and are hopeful

                                                              6 that the rental base will maintain, and increase during the term of the Plan period.

                                                              7          F.      Other Provisions Of The Plan

                                                              8                  1.     Executory Contracts And Unexpired Leases

                                                              9                         a.      Assumptions

                                                             10                  Debtors are currently a party, as landlords, to a rental lease on the Maple Property.

                                                             11 On the Effective Date, the Debtors intend to assume said lease agreement.
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                                                             12                         b.      Rejections

                                                             13                  To the extent that leases or contracts, other than the one discussed above, exist, on

                                                             14 the Effective Date, such executory contracts and unexpired leases shall be deemed rejected. The

                                                             15 Confirmation Order shall constitute an Order approving the Debtors' rejection of all such

                                                             16 executory contracts and unexpired leases.

                                                             17                  THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM

                                                             18 ARISING FROM THE REJECTION OF AN EXECUTORY CONTRACT OR UNEXPIRED
                                                             19 LEASE WILL BE 30 DAYS AFTER DATE OF ENTRY OF THE CONFIRMATION ORDER.

                                                             20 Any claim based on the rejection of an executory contract or unexpired lease will be barred if the

                                                             21 proof of claim is not timely filed, unless the Court orders otherwise.

                                                             22                  2.     Changes In Rates Subject to Regulatory Commission Approval

                                                             23                  Debtors are not subject to governmental regulatory commission approval of any

                                                             24 rates.

                                                             25                  3.     Retention Of Jurisdiction

                                                             26                  After confirmation of the Plan and occurrence of the Effective Date, in addition to

                                                             27 jurisdiction which exists in any other court, the Bankruptcy Court will retain such jurisdiction as is

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                                                              1 legally permissible including for the following purposes.

                                                              2                         (a)     To resolve any and all disputes regarding the operation and

                                                              3 interpretation of the Plan and the Confirmation Order;

                                                              4                         (b)     To determine the validity, classification, or priority of claims and

                                                              5 interests upon objection by the Debtors, the Reorganized Debtors, or by other parties in interest

                                                              6 with standing to bring such objection or proceeding;

                                                              7                         (c)     To determine the extent, validity and priority of any lien asserted

                                                              8 against property of the Debtors or property of the Estate;

                                                              9                         (d)     To construe and take any action to enforce the Plan, the

                                                             10 Confirmation Order, and any other order of the Court, issue such orders as may be necessary for

                                                             11 the implementation, execution, performance, and consummation of the Plan, the Confirmation
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                                                             12 Order, and all matters referred to in the Plan, the Confirmation Order, and to determine all matters

                                                             13 that may be pending before the Court in this Case on or before the Effective Date with respect to

                                                             14 any person or entity related thereto;

                                                             15                         (e)     To determine (to the extent necessary) any and all applications for

                                                             16 allowance of compensation and reimbursement of expenses of professionals for the period on or

                                                             17 before the Effective Date;

                                                             18                         (f)     To determine any request for payment of administrative expenses;
                                                             19                         (g)     To determine all applications, motions, adversary proceedings,

                                                             20 contested matters, and any other litigated matters instituted during the pendency of this case

                                                             21 whether before, on, or after the Effective Date;

                                                             22                         (h)     To determine such other matters and for such other purposes as may

                                                             23 be provided in the Confirmation Order;

                                                             24                         (i)     To modify the Plan under section 1127 of the Bankruptcy Code in

                                                             25 order to remedy any apparent defect or omission in the Plan or to reconcile any inconsistency in

                                                             26 the Plan so as to carry out its intent and purpose;

                                                             27                         (j)     Except as otherwise provided in the Plan or the Confirmation Order,

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                                                              1 to issue injunctions to take such other actions or make such other orders as may be necessary or

                                                              2 appropriate to restrain interference with the Plan or the Confirmation Order, or the execution or

                                                              3 implementation by any person or entity of the Plan or the Confirmation Order;

                                                              4                         (k)    To issue such orders in aid of consummation of the Plan or the

                                                              5 Confirmation Order, notwithstanding any otherwise applicable nonbankruptcy law, with respect to

                                                              6 any person or entity, to the fullest extent authorized by the Bankruptcy Code or Bankruptcy Rules;

                                                              7 and

                                                              8                         (l)    To enter a final decree closing this Case.

                                                              9          G.     Tax Consequences Of The Plan

                                                             10                 The following discussion summarizes certain federal income tax consequences of

                                                             11 the Plan to the Debtors. This summary does not address the federal income tax consequences to
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                                                             12 creditors or interest holders. This summary does not address foreign, state or local income tax

                                                             13 consequences, estate or gift tax consequences of the Plan.

                                                             14                 This summary is based on the Internal Revenue Code of 1986, as amended (the

                                                             15 "IRC"), the Treasury Regulations promulgated and proposed thereunder (the "Regulations"),

                                                             16 judicial decisions, and published administrative rulings and pronouncements of the Internal

                                                             17 Revenue Service (the "IRS") currently in effect. These authorities are all subject to change,

                                                             18 possibly with retroactive effect, and any such change could alter or modify the federal income tax
                                                             19 consequences described below.

                                                             20                 THE TAX CONSEQUENCES TO CREDITORS OR INTEREST HOLDERS

                                                             21 MAY VARY BASED UPON THE INDIVIDUAL CIRCUMSTANCES OF EACH SUCH

                                                             22 HOLDER. CREDITORS MAY RECOGNIZE INCOME OR LOSS AS A RESULT OF

                                                             23 THE PLAN. THIS DISCUSSION DOES NOT CONSTITUTE TAX ADVICE OR A TAX

                                                             24 OPINION CONCERNING THE MATTERS DESCRIBED. THERE CAN BE NO

                                                             25 ASSURANCE THAT THE INTERNAL REVENUE SERVICE WILL NOT CHALLENGE

                                                             26 ANY OR ALL OF THE TAX CONSEQUENCES DESCRIBED HEREIN, OR THAT SUCH

                                                             27 A CHALLENGE, IF ASSERTED, WOULD NOT BE SUSTAINED. ACCORDINGLY,

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                                                              1 EACH CREDITOR IS STRONGLY URGED TO CONSULT WITH ITS OWN TAX

                                                              2 ADVISOR REGARDING THE FEDERAL, STATE, LOCAL, FOREIGN OR OTHER TAX

                                                              3 CONSEQUENCES OF THE PLAN.

                                                              4                  In general, the Debtors do not expect to incur any substantial tax liability as a result

                                                              5 of implementation of the Plan.

                                                              6                  The IRC provides that debtors in a chapter 11 bankruptcy case must reduce certain

                                                              7 tax attributes by the amount of any cancellation of indebtedness ("COD") income that is realized

                                                              8 as a result of the bankruptcy plan, instead of recognizing the income. COD income is the excess

                                                              9 of the amount of a taxpayer's indebtedness that is discharged over the amount or value of the

                                                             10 consideration exchanged therefor. As a result of the discharge and satisfaction of Claims pursuant

                                                             11 to the Plan, the Debtors will realize some COD income, and, accordingly, the Debtors will reduce
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                                                             12 certain tax attributes by the amount of unrecognized COD income.

                                                             13                  Tax attributes that are subject to reduction include net operating losses, capital

                                                             14 losses, loss carryovers, certain tax credits and, subject to certain limitations, and the tax basis of

                                                             15 property. The reduction of tax attributes occurs after the determination of the Debtors' tax for the

                                                             16 taxable year in which the COD income is realized.

                                                             17                  Payments of interest, dividends, and certain other payments are generally subject to

                                                             18 withholding unless the payee of such payment furnishes such payee's correct taxpayer
                                                             19 identification number (social security number or employer identification number) to the payor.

                                                             20 The Debtors may be required to withhold the applicable percentage of any payments made to a

                                                             21 holder who does not provide its taxpayer identification number. Backup withholding is not an

                                                             22 additional tax, but an advance payment that may be refunded to the extent it results in an

                                                             23 overpayment of tax.

                                                             24                  THE FOREGOING IS INTENDED TO BE ONLY A SUMMARY OF

                                                             25 CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE

                                                             26 PLAN, AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX

                                                             27 PROFESSIONAL. THE FEDERAL, STATE AND LOCAL INCOME AND OTHER TAX

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                                                              1 CONSEQUENCES OF THE PLAN ARE COMPLEX AND, IN SOME CASES,

                                                              2 UNCERTAIN. SUCH CONSEQUENCES MAY ALSO VARY BASED ON THE

                                                              3 INDIVIDUAL CIRCUMSTANCES OF EACH CREDITOR OR INTEREST HOLDER.

                                                              4 ACCORDINGLY, EACH CREDITOR IS STRONGLY URGED TO CONSULT WITH

                                                              5 HIS, HER OR ITS OWN TAX ADVISOR REGARDING THE FEDERAL, STATE AND

                                                              6 LOCAL INCOME AND OTHER TAX CONSEQUENCES UNDER THE PLAN.

                                                              7                                                     IV.

                                                              8                   CONFIRMATION REQUIREMENTS AND PROCEDURES

                                                              9                  PERSONS OR ENTITIES CONCERNED WITH CONFIRMATION OF THE

                                                             10 PLAN SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE LAW ON

                                                             11 CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX. The following
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                                                             12 discussion is intended solely for the purpose of alerting readers about basic confirmation issues,

                                                             13 which they may wish to consider, as well as certain deadlines for filing claims. The Debtors

                                                             14 CANNOT and DO NOT represent that the discussion contained below is a complete summary of

                                                             15 the law on this topic.

                                                             16                  Many requirements must be met before the Court can confirm the Plan. Some of

                                                             17 the requirements include that the Plan must be proposed in good faith, acceptance of the Plan,

                                                             18 whether the Plan pays creditors at least as much as creditors would receive in a chapter 7
                                                             19 liquidation, and whether the Plan is feasible. These requirements are not the only requirements for

                                                             20 confirmation.

                                                             21          A.      Who May Vote Or Object

                                                             22                  1.      Who May Object To Confirmation Of The Plan

                                                             23                  Any party in interest may object to the confirmation of the Plan, but, as explained

                                                             24 below, not everyone is entitled to vote to accept or reject the Plan.

                                                             25                  2.      Who May Vote To Accept/Reject The Plan

                                                             26                  A creditor or interest holder has a right to vote for or against the Plan if that

                                                             27 Creditor or interest holder has a Claim which is both (a) allowed or allowed for voting purposes,

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                                                              1 and (b) classified in an impaired class.

                                                              2                          a.      What Is An Allowed Claim/Interest

                                                              3                          As noted above, a creditor or interest holder must first have an allowed

                                                              4 claim or interest to have the right to vote. Generally, any proof of claim or interest will be

                                                              5 allowed, unless a party in interest brings a motion objecting to the claim. When an objection to a

                                                              6 claim or interest is filed, the creditor or interest holder holding the claim or interest cannot vote

                                                              7 unless the Court, after notice and hearing, either overrules, the objection or Allows the Claim or

                                                              8 interest for voting purposes.

                                                              9                  THE BAR DATE FOR FILING A PROOF OF CLAIM IN THIS CASE was

                                                             10 July 2, 2013 for governmental units and May 8, 2013 for all other creditors. A creditor or interest

                                                             11 holder may have an allowed claim or interest even if a proof of claim or interest was not timely
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                                                             12 filed. A claim is deemed allowed if (i) it is scheduled on the Debtors' schedules and such claim is

                                                             13 not scheduled as disputed, contingent or unliquidated, and (ii) no party in interest has objected to

                                                             14 the claim. An interest is deemed allowed if it is scheduled and no party in interest has objected to

                                                             15 the interest.

                                                             16                          b.      What Is An Impaired Claim/Interest

                                                             17                          As noted above, an Allowed Claim or interest only has the right to vote if it

                                                             18 is in a class that is impaired under the Plan. A class is impaired if the Plan alters the legal,
                                                             19 equitable, or contractual rights of the members of that class. For example, a class comprised of

                                                             20 general unsecured claims is impaired if the Plan fails to pay the members of that Class 110% of

                                                             21 what they are owed.

                                                             22                          In this case, the Debtors believe that all holders of claims in Classes 2, 3, 4,

                                                             23 5, 6, 9, 10, and 11 are impaired and entitled to vote to accept or reject the Plan. Parties who

                                                             24 dispute the Debtors' characterization of their claim or interest as being impaired or unimpaired

                                                             25 may file an objection to the Plan contending that the Debtors have incorrectly characterized the

                                                             26 class.

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                                                              1                  3.     Who Is Not Entitled To Vote

                                                              2                  The following four types of claims are not entitled to vote: (i) claims that have

                                                              3 been disallowed; (ii) claims in unimpaired classes; (iii) claims entitled to priority pursuant to

                                                              4 Bankruptcy Code sections 507(a)(1), (a)(2) and (a)(8); and (iv) claims in classes that do not

                                                              5 receive or retain any value under the Plan. Claims in unimpaired classes are not entitled to vote

                                                              6 because such classes are deemed to have accepted the Plan. Claims entitled to priority pursuant to

                                                              7 Bankruptcy Code sections 507(a)(1), (a)(2), and (a)(8) are not entitled to vote because such claims

                                                              8 are not placed in classes and they are required to receive certain treatment specified by the

                                                              9 Bankruptcy Code. Claims in classes that do not receive or retain any value under the Plan do not

                                                             10 vote because such classes are deemed to have rejected the Plan. In this case, the Debtors believe

                                                             11 that the holders of the claims in Class 1, 7, and 8, are unimpaired and are not entitled to vote on
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                                                             12 the Plan. EVEN IF YOUR CLAIM IS OF THE TYPE DESCRIBED ABOVE, YOU MAY

                                                             13 STILL HAVE A RIGHT TO OBJECT TO THE CONFIRMATION OF THE PLAN.

                                                             14                  4.     Who Can Vote In More Than One Class

                                                             15                  A creditor whose claim has been allowed in part as a secured claim and in part as

                                                             16 an unsecured claim is entitled to accept or reject the Plan in both capacities by casting one ballot

                                                             17 for the secured part of the claim and another ballot for the unsecured claim.

                                                             18                  5.     Votes Necessary To Confirm The Plan
                                                             19                  If impaired classes exist, the Court cannot confirm the Plan unless (a) at least one

                                                             20 impaired class has accepted the Plan without counting the votes of any insiders within that class,

                                                             21 and (b) all impaired classes have voted to accept the Plan, unless the Plan is eligible to be

                                                             22 confirmed by "cramdown" on non-accepting classes, as discussed herein.

                                                             23                  6.     Votes Necessary For A Class To Accept The Plan

                                                             24                  A class of claims is considered to have accepted the Plan when more than one-half

                                                             25 (1/2) in number and at least two-thirds (2/3) in dollar amount of the claims which actually voted,

                                                             26 voted in favor of the Plan. A class of interests is considered to have accepted the Plan when at

                                                             27 least two-thirds (2/3) in amount of the interest-holders of such class which actually voted, voted to

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                                                              1 accept the Plan.

                                                              2                  7.     Treatment Of Nonaccepting Classes

                                                              3                  As noted above, even if all impaired classes do not accept the Plan, the Court may

                                                              4 nonetheless confirm the Plan if the non-accepting classes are treated in the manner required by the

                                                              5 Bankruptcy Code. The process by which non-accepting classes are forced to be bound by the

                                                              6 terms of the Plan is commonly referred to as a "cramdown." The Bankruptcy Code allows the

                                                              7 Plan to be "crammed down" on non-accepting classes of claims or interests if it meets all

                                                              8 consensual requirements except the voting requirements of section 1129(a)(8) and if the Plan does

                                                              9 not "discriminate unfairly" and is "fair and equitable" toward each impaired class that has not

                                                             10 voted to accept the Plan as referred to in 11 U.S.C. § 1129(b) and applicable case law.

                                                             11                  8.     Request For Confirmation Despite No Acceptance By Impaired Classes
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                                                             12                  The Debtors request a cramdown on any impaired classes who do not vote to

                                                             13 accept the Plan.

                                                             14          B.      Liquidation Analysis

                                                             15                  Another confirmation requirement is the "Best Interest Test", which requires a

                                                             16 liquidation analysis. Under the Best Interest Test, if a claimant or interest holder is in an impaired

                                                             17 class and that claimant or interest holder does not vote to accept the Plan, then that claimant or

                                                             18 interest holder must receive or retain under the Plan property of a value not less than the amount
                                                             19 that such holder would receive or retain if the Debtors were liquidated under chapter 7 of the

                                                             20 Bankruptcy Code.

                                                             21                  In a chapter 7 case, the Debtors' assets are usually sold by a chapter 7 trustee.

                                                             22 Secured creditors are paid first from the sales proceeds of properties on which the secured creditor

                                                             23 has a lien. Administrative claims are paid next. Next, unsecured creditors are paid from any

                                                             24 remaining sales proceeds, according to their rights to priority. Unsecured creditors with the same

                                                             25 priority share in proportion to the amount of their allowed claim in relationship to the amount of

                                                             26 total allowed unsecured claims. Finally, interest holders receive the balance that remains after all

                                                             27 creditors are paid, if any.

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                                                              1                  For the Court to be able to confirm the Plan, the Court must find that all creditors

                                                              2 and interest holders who do not accept the Plan will receive at least as much under the Plan as

                                                              3 such holders would receive under a chapter 7 liquidation. The Debtors maintain that this

                                                              4 requirement is met here for the reasons discussed below.

                                                              5                  1.      Secured Creditors

                                                              6                  With respect to secured creditors, in a Chapter 7, the Trustee would likely take no

                                                              7 action on the properties the Debtors own (the "Properties"), allowing the respective first trust deed

                                                              8 holders to foreclose on the Properties. In light of the current economic conditions and the real

                                                              9 estate market, it is likely that the foreclosure price will be lower than the current fair market values

                                                             10 of the Properties. In such case, pursuant to 11 U.S.C. §506(a), the secured claims would be lower

                                                             11 than provided for herein, resulting in a smaller distribution to the secured creditor.
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                                                             12                  2.      General Unsecured Creditors

                                                             13                  At this time, the Debtors lack any equity in the Properties. As a result, in the event

                                                             14 of a liquidation (either in Chapter 7 or Chapter 11), after taking into consideration costs of sale,

                                                             15 there will be no funds available for general unsecured creditors. The Plan, on the other hand,

                                                             16 proposes to pay to general unsecured creditors, in the aggregate, $13,204.80 over five years (with

                                                             17 monthly payments of $ $698.07 until February 1, 2016 and monthly of $292.23 from February 1,

                                                             18 2016 on). The Debtors submit that this result is far superior to liquidation.
                                                             19                  Additionally, the Debtors believe that holders of allowed claims will begin to

                                                             20 receive their distributions much faster under the Plan than in a Chapter 7 liquidation as the

                                                             21 distribution under the Plan will be made shortly after the Plan is confirmed and the distribution in

                                                             22 a Chapter 7 liquidation would not be made until the chapter 7 bankruptcy case was closed, which

                                                             23 typically takes years. In Chapter 7, distribution to creditors would be delayed due to, among other

                                                             24 things: (a) the setting of a new bar date for the filing of proofs of claim, which would also result

                                                             25 in the filing of additional claims and thus reduce the pro rata distribution to creditors, (b) the

                                                             26 preparation of the Debtors' final report to the United States Trustee, and (c) the administrative

                                                             27 activities of the United States Trustee and the Court's clerk's office in connection with, among

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                                                              1 other activities, converting and closing this case. The Debtors therefore believe that holders of

                                                              2 allowed claims will receive more under the Plan than they would receive in a Chapter 7 liquidation

                                                              3 of the Debtors.

                                                              4                   The Debtors have therefore satisfied the "best interest of creditors test" with respect

                                                              5 to any claim holder who votes against the Plan. The Debtors conclude that the Plan provides fair

                                                              6 and equitable treatment to all classes of creditors and the greatest possible recovery to creditors.

                                                              7                   Below is a demonstration, in balance sheet format, that all creditors and interest

                                                              8 holders will receive at least as much under the plan as such creditor or interest holder would

                                                              9 receive under a Chapter 7 liquidation of the Debtors. This information is provided by the Debtors.

                                                             10                           ASSETS VALUED AT LIQUIDATION VALUES

                                                             11                              (ESTIMATED AS OF JANUARY 31, 2014)
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                                                                                                                                          LIQUIDATION VALUE
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                                                             12
                                                                                   ASSETS AT LIQUIDATION VALUE
                                                             13     Cash                                                                                   $30,000.00
                                                                      Remaining Retainer Balance                                                            $1,052.00
                                                             14
                                                                    Sunni’s Way Property                                                                  $350,000.00
                                                             15     Tyrol 213 Property                                                                    $145,000.00
                                                                    Maple Property                                                                        $375,000.00
                                                             16     County Road Property                                                                  $128,000.00
                                                                    Juniper Property                                                                      $260,000.00
                                                             17     Tyrol 214 Property                                                                    $245,250.00
                                                                    Ironhorse Property                                                                    $250,000.00
                                                             18
                                                                    Total Value                                                                         $1,753,250.00
                                                             19
                                                                    Total Assets At Liquidation Value:                                                  $1,781,906.00
                                                             20
                                                                    Less Secured Creditor Recovery:                                          $1,781,906.00 (all of the
                                                             21                                                                           creditors, except for Class 4
                                                                                                                                          claimant, are undersecured)
                                                             22
                                                                    Less: Chapter 7 trustee fees and expenses (including professionals                              $0
                                                             23     retained by the Chapter 7 trustee)

                                                             24     Less: Chapter 11 administrative expenses                                               $48,047.30
                                                             25
                                                                    Less: Priority tax claims                                                               $2,043.78
                                                             26
                                                                    Balance for unsecured claims:                                                                $0.00
                                                             27

                                                             28

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                                                              1                 % OF CLAIMS WHICH GENERAL UNSECURED CREDITORS WOULD

                                                              2 RECEIVE OR RETAIN IN A CHAPTER 7 LIQUIDATION = 0.0%

                                                              3                 % OF CLAIMS WHICH GENERAL UNSECURED CREDITORS WILL

                                                              4 RECEIVE OR RETAIN UNDER THE PLAN = 1.2 % minimum.

                                                              5          C.     Feasibility

                                                              6                 Another requirement for confirmation involves the feasibility of the Plan, which

                                                              7 means that confirmation of the Plan is not likely to be followed by the liquidation or the need for

                                                              8 further financial reorganization, of the Debtors or any successor to the Debtors under the Plan,

                                                              9 unless such liquidation or reorganization is proposed in the Plan.

                                                             10                 There are at least two important aspects of a feasibility analysis. The first aspect

                                                             11 considers whether the Debtors will have enough cash on hand on the Effective Date to pay all the
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                                                             12 claims and expenses which are entitled to be paid on such date. The Debtors maintain that this

                                                             13 aspect of feasibility is satisfied because the Debtors' on-going business operations will generate

                                                             14 sufficient cash on hand by the Effective Date to pay all the claim and expenses which are entitled

                                                             15 to be paid on the Effective Date.

                                                             16                 The second aspect considers whether the Reorganized Debtors will have enough

                                                             17 cash over the life of the Plan to make the required Plan payments. Attached hereto as Exhibit

                                                             18 "A" are the Debtors' cash flow projections for the term of the Plan. As set forth in the projections,
                                                             19 the Debtors believe that they will be able to make all required Plan payments. Additionally, to the

                                                             20 extent that the Debtors have insufficient funds in any one month to make the required payments,

                                                             21 the Debtors agree to reduce their profits for that particular month in an amount sufficient to make

                                                             22 such payments. The Debtors, therefore, believe that this requirement has been met.

                                                             23                 Cash Debtors will have on hand by Effective Date               $71,052.00

                                                             24                 To Pay: Administrative claims                                 -$48,047.30

                                                             25                 To Pay: Statutory costs & charges                             -$0.00

                                                             26                 To pay: Other Plan Payments due on Effective Date:            -$7,918.07

                                                             27                 Balance after paying these amounts…                            $15,086.63

                                                             28

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                                                              1                 The sources of the cash Debtors will have on hand by the Effective Date, as shown

                                                              2 above are:

                                                              3                 $30,000.00      Cash in DIP accounts now

                                                              4                 $1,052.00       Remaining Retainer Balance

                                                              5                 +$40,000.00 Additional cash DIP will accumulate from net earnings between

                                                              6                                 now and Effective Date.

                                                              7                 +0.00           Borrowing

                                                              8                 +0.00           Capital contributions

                                                              9                 $71,052.00      Total

                                                             10                 Debtors have also filed Monthly Operating Reports in this case with the U.S.

                                                             11 Bankruptcy Court. YOU ARE ADVISED TO CONSULT WITH YOUR OWN ACCOUNTANT
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                                                             12 OR FINANCIAL ADVISOR IF YOU HAVE ANY QUESTIONS PERTAINING TO THESE

                                                             13 FINANCIAL STATEMENTS.

                                                             14                                                    V.

                                                             15                             EFFECT OF CONFIRMATION OF PLAN

                                                             16          A.     Binding Effect of Plan

                                                             17                 Confirmation shall bind the Debtors, all creditors, and other parties in interest to the

                                                             18 provisions of the Plan whether or not the claim of such creditor is impaired under the Plan and
                                                             19 whether or not such creditor has accepted the Plan.

                                                             20          B.     Revesting Of Property In The Reorganized Debtors

                                                             21                 Except as provided elsewhere herein, the confirmation of the Plan revests all of the

                                                             22 property of the Estate in the Reorganized Debtors.

                                                             23                 In addition, on the Effective Date, all of the claims against and/or interests in third

                                                             24 parties that constitute property of the Estate shall be revested in the Reorganized Debtors.

                                                             25 Following the Effective Date, the Reorganized Debtors shall have absolute authority to prosecute,

                                                             26 waive, adjust or settle any claims without the need for approval by the Court. Following the

                                                             27 Effective Date, the Reorganized Debtors shall have the authority to employ such professionals as

                                                             28

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                                                              1 they deems necessary to prosecute or defend such claims asserted without the need for Court

                                                              2 approval.

                                                              3                 Except as otherwise provided herein or in the Confirmation Order, in the event that

                                                              4 the Reorganized Debtors shall default in the performance of any of its obligations under the Plan

                                                              5 and shall not have cured such a default within thirty (30) days after receipt of written notice of

                                                              6 default from the creditor to whom the performance is due, then the entity or individual to whom

                                                              7 the performance is due may pursue such remedies as are available at law or in equity. An event of

                                                              8 default occurring with respect to one claim shall not be any event of default with respect to any

                                                              9 other claim.

                                                             10          C.     Modification Of Plan

                                                             11                 The Debtors may modify the Plan at any time before confirmation. However, the
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                                                             12 Court may require a new disclosure statement and/or re-voting on the Plan.

                                                             13                 Pursuant to 11 U.S.C. §1127(e) because the debtors are individuals, the Plan may

                                                             14 be modified at any time after confirmation of the Plan, but before the completion of payments

                                                             15 under the Plan, whether or not the Plan has been substantially consummated, upon request of the

                                                             16 Debtors, the trustee, the OUST, or the holder of an allowed unsecured claim, to—

                                                             17                 (1)     increase or reduce the amount of payments on claims of a particular class

                                                             18 provided for by the plan;
                                                             19                 (2)     extend or reduce the time period for such payments; or

                                                             20                 (3)     alter the amount of the distribution to a creditor whose claim is provided for

                                                             21 by the Plan to the extent necessary to take account of any payment of such claim made other than

                                                             22 under the Plan.

                                                             23                 Moreover, pursuant to 11 U.S.C. §1127(f)(2) the plan, as modified, shall become

                                                             24 the Plan only after there has been disclosure under section 1125, as the Court may direct, notice

                                                             25 and a hearing, and such modification is approved.

                                                             26          D.       Post-Confirmation Status Report

                                                             27                 Within 120 days following the entry of the Plan Confirmation Order, the

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                                                              1 Reorganized Debtors shall file a status report with the Court explaining what progress has been

                                                              2 made toward consummation of the confirmed Plan. The status report shall be served on the

                                                              3 United States Trustee, the 20 largest unsecured creditors and any secured creditors and priority

                                                              4 unsecured creditors entitled to receive distributions under the Plan. Further status reports shall be

                                                              5 filed every 120 days and served on the same entities.

                                                              6          E.     Post-Confirmation Conversion/Dismissal

                                                              7                 A creditor or party in interest may bring a motion to convert or dismiss the Case

                                                              8 under section 1112(b) after the Plan is confirmed if there is a default in performing the Plan. If the

                                                              9 Court orders the Case converted to chapter 7 after the Plan is confirmed, then all property that had

                                                             10 been property of the chapter 11 estate, and that has not been disbursed pursuant to the Plan, will

                                                             11 re-vest in the chapter 7 estate. The automatic stay will be re-imposed upon the re-vested property,
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                                                             12 but only to the extent that the Court did not previously authorize relief from stay during the Case.

                                                             13                 The order confirming the Plan may also be revoked under very limited

                                                             14 circumstances. The Court may revoke the order if the order of confirmation was procured by

                                                             15 fraud and if the party in interest brings an adversary proceeding to revoke confirmation within 180

                                                             16 days after the entry of the order of confirmation.

                                                             17          F.     Post-Confirmation U.S. Trustee Fees

                                                             18                 The Reorganized Debtors shall be responsible for the timely payment of all fees
                                                             19 incurred after the Effective Date pursuant to 28 U.S.C. § 1930(a)(6).

                                                             20 /././

                                                             21 /././

                                                             22 /././

                                                             23 /././

                                                             24 /././

                                                             25 /././

                                                             26 /././

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                 EXHIBIT “A”
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                                        Projected Monthly Average Income and Expenses

           Description                      Monthly Avg           Basis for Projection
           Income:
           Rents and Leases Collected          $2,786.64 2/1/13 to 12/31/13 operating report monthly average
           Mobile Techie                        $817.00  2/1/13 to 12/31/13 operating report monthly average
           Stephanie Employment                $5,381.00 Joint Debtor’s employment income is stable
           SunSnow Management                  $8,500.00 Projections based off SunSnow operations during typical:
                                                         busy season (See attached 2/1/12 to 3/31/12 operating
                                                         reports); and off season (See 4/1/13 to 7/31/13
                                                         operating reports)
           Miscellaneous Deposits                $359.91 2/1/13 to 12/31/13 operating report monthly average
           Total:                             $17,844.55
           Expenses:
           Personal Expenses (Food,            $5,070.09 2/1/13 to 12/31/13 operating report monthly average
           Shopping, Necessities, etc.)
           and Property Insurance
           Property, Auto Repairs, Fuel          $433.55   2/1/13 to 12/31/13 operating report monthly average
           Utilities on Properties             $1,186.55   2/1/13 to 12/31/13 operating report monthly average
           Sunni’s Way Mortgage                $2,032.00   2/1/13 to 12/31/13 operating report monthly average
           HOA Dues                            $1,509.09   2/1/13 to 12/31/13 operating report monthly average
           Tyrol 213 Property Taxes              $103.92   Escrow payment per stipulation
           Tyrol 214 Property Taxes              $103.18   Annual property tax assessment over 12 months
           County Road Property Taxes             $51.45   Annual property tax assessment over 12 months
           Maple Property Road                   $314.26   Escrow payment per stipulation
           Juniper Property Taxes                $256.55   Annual property tax assessment over 12 months
           Total:                             $11,060.64
           Proposed Plan Payments:
           Grand County Treasurer                 $37.86   Plan
           Deutsche Bank (Tyrol 213)             $778.39   Plan
           Bank of America (Maple)             $2,070.76   Plan
           Green Tree (County Road)              $429.88   Plan
           U.S. Bank, N.A. (Maple Road)        $1,294.06   Plan
           JP Morgan Chase (Tyrol 214)         $1,354.28   Plan
           Schools FCU (2011 VW)                 $328.90   Plan
           Total:                              $6,294.13

           Projected Disposable                 $489.78
           Income Prior to 2/1/2016
           Projected Disposable                 $291.16
           Income Between 2/1/2016
           to 2/1/2017
           Projected Disposable                   $83.94
           Income After 2/1/2017
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                 EXHIBIT “B”
Filed 08/15/14               Case
                 Case 13-20096    13-20096
                                Filed 10/25/13   Doc 146   Doc 282
Filed 08/15/14               Case
                 Case 13-20096    13-20096
                                Filed 10/25/13   Doc 146   Doc 282
Filed 08/15/14               Case
                 Case 13-20096    13-20096
                                Filed 10/25/13   Doc 146   Doc 282
Filed 08/15/14               Case
                 Case 13-20096    13-20096
                                Filed 10/25/13   Doc 146   Doc 282
Filed 08/15/14               Case
                 Case 13-20096    13-20096
                                Filed 10/25/13   Doc 146                                          Doc 282




                                                           Digitally signed by Gregory Campbell
                                                           DN: cn=Gregory Campbell, o, ou,
                                        Gregory Campbell   email=gcampbell@piteduncan.com, c=US
                                                           Date: 2013.10.25 09:15:19 -07'00'
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                 EXHIBIT “C”
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       In re: Caleb Tector and Stephanie Larson
       CLASS 11 GENERAL UNSECURED CLAIMS

       Class 11-A
       Citibank, N.A.
                                                           $   101,494.00
       Account No. xxxxxx0945
       Green Tree Servicing, LLC
                                                           $   157,547.69
       Account No. xxxxxx0069
       JP Morgan Chase Bank, N.A.
                                                           $   137,097.00
       Account No. xxxxxx7780
       Bank of America, N.A.
                                                           $   157,231.00
       Account No. xxxxxx3532                                               Class 11-A Total
       JP Morgan Chase Bank, N.A.
                                                           $    43,519.00 $      596,888.69
       Account No. xxxxxx6235
       Class 11-B
       Deutsche Bank National Trust Co.
                                                           $   103,210.44
       Account No. xxxxxx1182
       Class 11-C
       Bank of America, N.A.
                                                           $    54,457.48
       Account No. xxxxxx0306
       Class 11-D
       Eugene and Jaqueline Larson
                                                           $    59,384.43
       Account No. (None)
       Class 11-E
       U.S. Bank, N.A.
                                                           $   166,846.66
       Account No. xxxxxx5637
       Class 11-F
       JP Morgan Chase Bank, N.A.
                                                           $   142,075.02
       Account No. xxxxxx6943

       Total General Unsecured Claims                      $ 1,122,862.72
